       Case 6:05-cr-60008-AA        Document 255-6   Filed 02/01/10   Page 1 of 60




KENT S. ROBINSON, OSB #09625
Acting United States Attorney
District of Oregon
CHRISTOPHER L. CARDANI
Assistant United States Attorney
405 East 8th Avenue, Suite 2400
Eugene, OR 97401
chris.cardani@usdoj.gov
Telephone: (541) 465-6771
CHARLES F. GORDER, JR., OSB #91287
charles.gorder@usdoj.gov
RYAN W. BOUNDS, OSB #00012
ryan.bounds@usdoj.gov
Assistant United States Attorneys
1000 S.W. Third Ave., Suite 600
Portland, OR 97204
Telephone: (503) 727-1000
        Attorneys for United States of America




                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA                         CR 05-60008-02-HO

              v.

PIROUZ SEDAGHATY,                                EXHIBIT C TO DECLARATION OF
                                                 CHRISTOPHER L. CARDANI
                      Defendant.
                                                 PART 3:
In re AL RAJHI BANK SUBPOENA                     (1)  COLEMAN DECLARATION
                                                 (2)  EXHIBITS A-D
AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest

                      Respondent.
      Case 6:05-cr-60008-AA   Document 255-6    Filed 02/01/10   Page 2 of 60




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                                                )
                       Petitioner,              )
                                                )
                 v.                             )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                )
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    ) Misc. Action No.
Treasury,                                       )
1500 Pennsylvania Avenue, NW                    )
Washington, DC 20220                            ) DECLARATION OF
                                                ) TIMOTHY J. COLEMAN
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                                                )
                         Respondents.           )
       Case 6:05-cr-60008-AA        Document 255-6        Filed 02/01/10    Page 3 of 60




       I, TIMOTHY J. COLEMAN, hereby declare and state as follows:

       1.      I am a partner in the law firm of Dewey & LeBoeuf LLP, attorneys for Petitioner

Al Rajhi Banking & Investment Corporation (the “Bank”) in the above-captioned action. I have

personal knowledge of the matters stated below. If called as a witness, I could and would testify

competently thereto. I also submit this Declaration for the purpose of putting before the Court

certain documents in support of Petitioner’s Motion to Quash Patriot Act Subpoena.

       2.      The Bank’s agent for service of process is Mr. Isam Salah, a partner in the New

York office of King & Spalding LLP, a U.S. law firm based in Atlanta.

       3.      Attached as Exhibit A is a true and correct copy of King & Spalding’s letter

accepting The Bank’s request that it act as The Bank’s agent for service of process.

       4.      Attached as Exhibit B is a true and correct copy of the Indictment of Al-Haramain

Islamic Foundation, Inc., Pirouz Sedaghaty and Soliman Hamd Al-Buthe, filed in United States

v. Al-Haramain Islamic Found., Inc. et al., No. 6:05-cr-60008-HO (D. Or. Feb. 17, 2005).

       5.      Attached as Exhibit C is a true and correct copy of the docket sheet as of January

18, 2010 in United States v. Al-Haramain Islamic Found., Inc. et al., No. 6:05-cr-60008-HO (D.

Or. 2005).

       6.      Attached as Exhibit D is a true and correct copy of the United States Attorney’s

Office for the District of Oregon’s press release of August 4, 2005, entitled, “Government Files

Motion to Dismiss Case Against Al-Haramain Islamic Foundation, Inc. Because International

Fugitives have not been Apprehended”.

       7.      Attached as Exhibit E is a true and correct copy of the United States Attorney’s

Office for the District of Oregon’s press release of August 15, 2007, entitled, “Former Ashland,




                                                2
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Oregon Resident Previously Charged with Conspiracy to Defraud the United States and Filing a

False Tax Return on Behalf of Al-Haramain Islamic Foundation Appears in Federal Court”.

        8.    Attached as Exhibit F is a true and correct copy of excerpts from Sedaghaty’s

Memorandum in Support of Motions to Suppress Evidence Seized Pursuant to Search Warrant

and Purported Consents, and to Compel Government to Cease All Searches of Computers and

Electronic Media Seized on February 18, 2004, United States v. Al-Haramain Islamic

Foundation, Inc., et al., No. 6:05-CR-60008-HO (D. Or. June 19, 2009).

        9.    Attached as Exhibit G is a true and correct copy of the Acting United States

Attorney for the District of Oregon’s Administrative Subpoena issued on the Bank on July 17,

2009.

        10.   Attached as Exhibit H is a true and correct copy of excerpts from the

Government’s Trial Brief, United States v. Holy Land Found. for Relief and Dev., No. 03-CR-

240-G (N.D. Tex. May 29, 2007).

        11.   On August 18, 2009, I spoke by telephone with Assistant United States Attorney

Christopher Cardani in the District of Oregon, and Internal Revenue Service Special Agent

Colleen Anderson, both of whom are assigned to the government’s criminal case against

Sedaghaty. I advised the government that I represented the Bank. I requested a 30-day

adjournment of the return date for the subpoena, to provide additional time determine whether

the Bank would comply with the subpoena or contest it. AUSA Cardani agreed to the

adjournment, which I confirmed in an email sent to him later that day.

        12.   On September 22, 2009, I spoke with AUSA Cardani, advised him that the Bank

was awaiting guidance from the Saudi authorities concerning the subpoena, and requested a




                                                3
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further 30-day adjournment of the return date. AUSA Cardani agreed, and I confirmed the

adjournment in an email to him later that day.

       13.     On September 23, 2009, I received a copy of the letter from SAMA to the Bank.

(Declaration of Khalid A. Al-Thebity, sworn to Oct. 21, 2009, ¶ 2 (“Al-Thebity Decl.”)Ex. G).

On September 24, 2009, I forwarded that letter, together with a letter from the Bank to SAMA

dated September 1, 2009, (Al-Thebity Decl. Exs. E., F) to AUSA Cardani, SA Anderson and

AUSA Charles Gorder, who is also assigned to the criminal case against Sedaghaty. Also on

September 24, 2009, I spoke with AUSA Cardani, and advised him that, in light of SAMA’s

instructions to the Bank, it was likely that the Bank would move to quash the subpoena. In that

conversation, AUSA Cardani stated that the government had attempted to obtain the documents

called for by subpoena through a request to the government of Saudi Arabia. He did not tell me

the nature of that request. I suggested to AUSA Cardani that, in light of SAMA’s view that the

documents should be requested by means of a letter rogatory, the government should consider

submitting such a request.

       14.     On October 23, 2009, I had a further conversation with AUSA Cardani, in which

he stated that the government was granting a further adjournment of the subpoena return date. I

told AUSA Cardani that the Bank was not requesting any further adjournment, and that the Bank

might move to quash the subpoena despite the extension. On October 26, 2009, I received an

email from AUSA Cardani stating that the return date was adjourned to November 30, 2009.

       15.     On November 9, 2009, I spoke with AUSA Cardani and David Warner, an

attorney in the Justice Department’s Office of International Affairs in Washington (“OIA”).

During that call, the government represented that it had not submitted a letter rogatory seeking

the documents at issue, but had made a request to the Saudi government to produce those




                                                 4
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documents pursuant to the International Convention for the Suppression of the Financing of

Terrorism. I reiterated my previous suggestion that the government should consider seeking the

documents through a letter rogatory, and offered to assist the government by working with the

Bank to process the request expeditiously. I also requested that requested that the government

provide me with documentation, such as diplomatic cable traffic, of the treaty request the

government had made previously.

        16.    On November 23, 2009, I received an email from AUSA Cardani, stating that

OIA was working with the State Department to determine whether the information I requested

could be provided, and that he was therefore extending the subpoena return date to December 30,

2009.

        17.    On December 23, 2009, I spoke with AUSA Cardani. He informed me that the

government would not provide the information I had requested. He stated that the government

was considering various options in connection with the subpoena. He stated that some of those

options could adversely affect the Bank, and specifically cited a provision of the USA PATRIOT

Act, 31 U.S.C. Section 5318A. AUSA Cardani also informed me that he was extending the

subpoena return date to January 29, 2010.

        18.    On January 15, 2009, I spoke with AUSA Cardani. I stated that if the government

initiated a proceeding under Section 5318A, the Bank would be irreparably harmed. I requested

that the government agree to provide the Bank with advance notice of any such proceeding.

AUSA Cardani did not agree to that request.




                                                5
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT A TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) TIMOTHY J. COLEMAN
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
Case 6:05-cr-60008-AA            Document 255-6         Filed 02/01/10         Page 9 of 60



                                                                 King & Spalding LLP
                                                                 1185 Avenue ofthe Americas
                                                                 New York, New York 10036-4003
KING & SPALDING                                                  www.kslaw.com


                                                                 IsamSalah
                                                                 Direct Dial: 2121556-2140
                                                                 isalah@kslaw.com

April 22, 2009




K.B. Sudarsan                                      PRIVILEGED AND CONFIDENTIAL:
Al Rajhi Bank                                      SUBJECT TO ATTORNEY-CLIENT
Corporate Banking Group                            PRIVILEGE AND AITORNEY WORK
Corporate Bank Building                            PRODUcr DOCTRINE
Musa Bin Nusair Road
Olaya, Saudi Arabia


          Re:    Appointment of Legal Process Agent

Dear Mr. Sudarsan:

       Weare in receipt of your request dated March 23, 2009 regarding the above-captioned
matter. We would be willing to act as agent for service of process for AI Rajhi Bank. There
would be no charge for our accepting to act as your agent for the service of process. If we are
called on to handle various matters in our capacity as agent for service of process, we would
charge for the time incurred and related disbursements. When notifying others that we act as
your agent, please indicate our address details as follows:

          King & Spalding
          1185 Avenue of the Americas
          New York, New York 10036
          ATTN: Mr. Isam Salah

       Please provide me with full address (building and post office box), telephone, fax, email
and contact details that should be used for the forwarding of process to Al Rajhi Bank..


                                                   Sin.~                 C
                                                        Salah       ~
IS:gg




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT B TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) TIMOTHY J. COLEMAN
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
 Case 6:05-cr-60008-AA           Document 255-6     Filed 02/01/10     Page 11 of 60

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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON



UNITED STATES OF AMERICA,                   )    No. CR 05-lDODU'6- WJ
                                            )
                             Plaintiff,     )    INDICTMENT
                                            )
                      v.                    )    Count One:   18 U.S.C. §371 -
                                            )
AL-HARAMAIN ISLAMIC                         )          Conspiracy to Defraud the
FOUNDATION, INC.;                           )          United States
                                            )
PIROUZ SEDAGHATY,                           )    Count Two: 26 U.S.C. §7206(1) -
alkla Pete Seda, Perouz Seda Ghaty          )
and Abu Yunus; and                          )          False I.R.S. Return by Tax
                                            )          Exempt Organization
SOLIMAN HAMD AL-BUTHE,                      )
alkJa Soliman AI-Buthe;                     )    Count Three: 31 U.S.C.
                                            )          §5316(a)(1)(A) -
                             Defendants. )
                                                       Failure to File Report of
                                                       International Transportation of
                                                       Currency or Monetary
                                                       Instrument

                             THE GRAND JURY CHARGES:

Introductory AJlegations

At all times relevant to this indictment:

        A)       Defendant PIROUZ SEDAGHATY, also known as Pete Seda, Perouz

Seda Ghaty, and Abu Yunus, was a naturalized United States citizen and resident of

Ashland, Oregon.

Indictment - 1
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        B)       The AI-Haramain Islamic Foundation, referred to in this indictment as AI-

Haramain (Riyadh), was a non-governmental organization headquartered in Riyadh,

Saudi Arabia. Al-Haramain (Riyadh) operated in more than fifty countries throughout

the world. Its publicly stated purposes were to distribute Islamic aid and Islamic

educational material.

                 i)     Aqeel Abdul-Aziz A1'Aqeel, also known as Ageel al-Ageel or Aquil

                 al-Aquil, was the General Manager of AI-Haramain (Riyadh).

                 ii)    Defendant SOLIMAN HAMD AL-BUTHE, also known as Soliman

                 AI-Buthe, was a citizen of Saudi Arabia and an official with AI-Haramain

                 (Riyadh). AL-BUTHE was also the chairman of the United States

                 Committee for AI-Haramain, responsible for promoting AI-Haramain's

                 (Riyadh) causes in the United States.

                 iii)   AI-Haramain (Riyadh) first established a presence in the United

                 States in 1997. In October 1997, Aqeel Abdul-Aziz AI'Aqeel, on behalf of

                 AI-Haramain (Riyadh), designated defendant SOLIMAN AL-BUTHE

                 through a power of attorney as its lawful representative in the United

                 States. Later that month, defendants PIROUZ SEDAGHATY and

                 SOLIMAN AL-BUTHE registered the AI-Haramain Islamic Foundation as

                 an assumed business name with the Oregon Secretary of State.

                 SEDAGHATY was designated as AI-Haramain Islamic Foundation's

                 authorized representative. The AI-Haramain Islamic Foundation listed its

                 principal place of business in the United States as 1257 Siskiyou Blvd.

                 #224, Ashland, Oregon.

Indictment - 2
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        Case 6:05-cr-60008-HO        Document 1        Filed 02/17/2005     Page 3 of 17



                 iv)    Defendants PIROUZ SEDAGHATY and SOLIMAN AL-BUTHE

                 established a bank account in the name of the AI-Haramain Islamic

                 Foundation at the Bank of America in Ashland, Oregon. Defendants

                 PIROUZ SEDAGHATY and SOLIMAN AL-BUTHE were the only two

                 individuals authorized to conduct transactions involving that bank account.

                 v)     In February and March 1999, defendant PIROUZ SEDAGHATY

                 established AI-Haramain as a corporation in the State of Oregon, thus

                 becoming the AL-HARAMAIN ISLAMIC FOUNDATION, INC. In its

                 corporate application, defendant AL-HARAMAIN ISLAMIC FOUNDATION,

                 INC. asserted:

                        The corporation is organized as a public benefit corporation
                        eXclusively for religious, humanitarian, educational, and charitable
                        purposes as defined in Section 501 (C){3) of the Internal Revenue
                        Code, and ORS 65.036 of the Oregon Revised Code. The
                        corporation shall not carry on any activities which are not permitted
                        by the Internal Revenue Code for such corporations which are
                        exempt from federal income tax and to which contributions are
                        deductible for federal income tax purposes. AI Haramain Islamic
                        Foundation, Inc. stands against terrorism, injustice, or subversive
                        activities in any form and shall not support any statement or acts of
                        terrorism. AI Haramain Islamic Foundation, Inc. believes such
                        conduct is contrary to Islamic principles.

                 Vi)    In documents filed with the Internal Revenue Service, defendant

                 AL-HARAMAIN ISLAMIC FOUNDATION, INC. listed the following

                 individuals among its corporate officers:

                       Ageel AI-AgeeI (aka Aquil al-Aquil)                President

                        Soliman HS AJ-Buthe                               Treasurer

                        Perouz Seda Ghaty                                 Secretary


Indictment - 3
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                Defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC. provided the

                Internal Revenue Service with a website address of www.alharamain.org.

                vii)   Defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC. was

                funded by its parent organization AI-Haramain (Riyadh) through its

                headquarters in Riyadh, Saudi Arabia, which exercised decision-making

                authority over financial transactions conducted by the United States office,

                including decisions on how donations received by AI-Haramain (Riyadh)

                and defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC. would be

                distributed.

       C)       Immigration and Customs Enforcement (ICE) and Customs and Border

Protection (CBP) are agencies of the U.S. Department of Homeland Security. At the

time of the events relevant to this indictment, ICE and CBP were known as the United

States Customs Service, which was an agency of the United States Department of the

Treasury. As part of its lawful functions, ICE and CBP are responsible for collecting

information concerning currency and monetary instruments coming into or leaving the

United States in amounts greater than $10,000. At the time of the events relevant to

this indictment, the United States Customs Service was responsible for collecting

information concerning currency and monetary instruments coming into or leaving the

United States in amounts greater than $10,000.

                i)     Anyone who transports, mails or ships more than $10,000 in

                currency or monetary instruments, including travelers checks, into or out

                of the United States, is required by law to provide the details of that

                transaction to the United States Government through a Form 4790,

Indictment· 4
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                Report of International Transportation of Currency or Monetary

                Instruments.

       D)       The Internal Revenue Service is an agency of the United States

Department of the Treasury. As part of its lawful functions, the IRS is responsible for

considering applications from organizations seeking to be exempt from taxation. If tax

exempt status is granted to an organization, it must file a Form 990, Return of

Organization Exempt from Income Tax, with the IRS each year in which its contributions

exceed $100,000. If the IRS determines from a review of a Form 990 that a tax exempt

organization is not operating consistently with its tax exempt status, then the IRS may

revoke the tax exemption and subject the organization to taxation.

                i)      On December 31,1999, defendant PIROUZ SEDAGHATY and

                defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC. filed an

                application for tax exempt status, asserting the AI-Haramain Islamic

                Foundation was a pUblic benefit corporation, organized exclusively for

                religious, humanitarian, educational and charitable purposes. The Internal

                Revenue Service granted defendant AL-HARAMAIN ISLAMIC

                FOUNDATION, INC.'s application for tax exempt status in December

                2000.

       E)       As used in this indictment, the term "jihad" means violent jihad, that is, a

holy war accomplished through violent physical struggle and armed conflict.

       F)       "Mujahideen" are individuals who engage in a violent physical struggle or

armed conflict to promote a holy war or violent jihad.

       G)       "Zakat" is one of the pillars of Islam, and is the obligatory alms or charity

Indictment· 5
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tax imposed on all practicing Muslims to support the poor and needy. Money obtained

through zakat has been diverted by Islamic charitable foundations and non-

governmental organizations to fund mujahideen, assisting them in violent jihad.

       H)       Chechnya is a North Caucasus province located south of Russia.

Chechnya has a long history of a Muslim led guerilla independence resistance against

Russian occupation. In approximately 1995, foreign mujahideen moved into Chechnya

in an organized effort to aid local Muslim fighters in an attempt to defeat Russian

forces. The mujahideen are engaged in a violent jihad, with the goal of creating an

Islamic state in Chechnya. The Chechen mujahideen have received funding from

Islamic charities and non-governmental organizations.

       I)       The website www.alharamain.org was hosted by AI-Haramain (Riyadh).

Through this website and other websites referred to in AI-Haramain's (Riyadh) website,

AI-Haramain (Riyadh) promoted violent jihad as an obligation of Islam, updated readers

concerning the Chechen mujahideen's violent jihad against the Russian army, and

advised readers on how to donate money to the Chechen mujahideen.

                                        Count One

       The introductory allegations are incorporated as if fUlly set forth herein.

                 Conspiracy to Defraud the United States Government

       From late 1999, through October 2001, in the District of Oregon and elsewhere,

the

       • AL-HARAMAIN ISLAMIC FOUNDATION, INC., an Oregon Corporation;

       • PIROUZ SEDAGHATY, alkla Pete Seda, Perouz Seda Ghaty, and Abu Yunus;

       and

Indictment· 6
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        • SOLIMAN HAMD AL-BUTHE, a/kJa Soliman AI-Buthe;

defendants herein, did unlawfully, willfully, and knowingly conspire, combine,

confederate, and agree together and with each other and with other individuals and

organizations both known and unknown to the grand jury to defraud the United States

for the purpose of impeding, impairing, obstructing, and defeating the lawful functions of

the U.S. Immigration and Customs Enforcement and Customs and Border Protection of

the Department of Homeland Security, formerly the United States Customs Service of

the Department of Treasury, in the collection of information concerning the

transportation of currency and monetary instruments leaving the United States, and the

Internal Revenue Service of the Treasury Department, in the collection of information

concerning financial transactions of tax exempt organizations, through deceit, craft,

trickery and dishonest means.

I. Object of the Conspiracy

        In February 2000, an individual in Egypt donated $150,000 to AI-Haramain

(Riyadh) as zakat to be sent to Chechnya. The funds were initially wire transferred by

the donor to an AI-Haramain bank account in Oregon, converted into travelers checks

and a cashier's check, and covertly taken out of the United States by defendant

SOLIMAN AL-BUTHE. Intending that the funds be delivered to the Chechen

mujahideen, defendants PIROUZ SEDAGHATY, SOLIMAN AL-BUTHE, the AL-

HARAMAIN ISLAMIC FOUNDATION, INC., and others, engaged in a conspiracy to

prevent the United States Government from learning of the transaction by failing to fill

out paperwork, as required by law, acknOWledging the funds were leaving the United

States. and by filing a false tax return with the Internal Revenue Service which falsified

Indictment - 7
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how the donated funds were distributed by defendant AL-HARAMAIN ISLAMIC

FOUNDATION, INC.

II. Manner and Means by Which the Conspiracy was Carried Out

        The manner and means by which the conspiracy was sought to be accomplished

included:

        A)       In 1999 and 2000, AI-Haramain (Riyadh) published reports and articles in

support of the mujahideen in Chechnya on its website, www.alharamain.org. These

reports were published in English and Arabic. One report, entitled "The Latest News

About the Jihaad in Chechnya," provided details of specific battles between Russian

forces and the mujahideen in Chechnya. The website also published prayers calling for

the destruction of the Russian army and for aid for "our Mujaahideen brothers in

Chechnya." The website also contained a link to www.gogaz.com. Through this link,

details were available on how to fund the Chechen mujahideen.

        B)       In February 2000, AI-Haramain (Riyadh) issued an online newsletter

                 reading in part:

                 Jihad is a religious obligation in Islaam. Its aim is to fight oppression and
                 injustice and to remove obstacles which prevent the spread of Islam. This
                 is accomplish[ed] either by weakening or destroying the disbelieving
                 prevalent political parties so that Muslims can prevent anyone from
                 persecuting their brother Muslims wherever they may be.

        C)       In February 2000, AI-Haramain (Riyadh) was contacted by an individual in

Egypt seeking to donate $150,000 "as Zakat in order to participate in your nobel

support to our muslim brothers in Chychnia...... To make the donation, the Egyptian

donor initially sent the funds to defendant AL-HARAMAIN ISLAMIC FOUNDATION,

INC. in the United States.

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        D)       On or about February 24, 2000, the Egyptian donor wire transferred

$149,985 from an account he controlled at the National Bank of Kuwait in London,

England, to an account at the Bank of America in Ashland, Oregon, in the name of the

AI-Haramain Islamic Foundation. All funds in the AI-Haramain account at the Bank of

America were controlled by defendants PIROUZ SEDAGHATY and SOLIMAN AL-

BUTHE.

        E)       In an electronic message sent from Riyadh, Saudi Arabia, to defendant

PIROUZ SEDAGHATY in Oregon. defendant SOLIMAN AL-BUTHE asked defendant

PIROUZ SEDAGHATV to verify whether the funds had been received in AI-Haramain's

bank account in the United States.

        F)       Sometime after February 24,2000, the General Manager of AI·Haramain

(Riyadh), Aqeel Abdul-Aziz AI-'Aqeel, signed a letter thanking the Egyptian donor for his

$150,000 donation and stating:

        We appreciate your trust in AI-Haramain Islamic Foundation and assure you of
        our commitment to continue every possible effort to help ending the Chechnyan
        crisis.

        G)       On or about March 7. 2000. defendant SOLIMAN AL-BUTHE flew from

Riyadh, Saudi Arabia to Oregon. AL-BUTHE entered the United States pursuant to a

business visa and listed his intended destination as 1257 Siskiyou Blvd. #212, Ashland,

Oregon.

        H)       On or about March 10, 2000, defendants PIROUZ SEDAGHATY and

SOLIMAN AL-BUTHE went to the Bank of America in Ashland, Oregon to obtain a

portion of the donated funds. Defendants SOLIMAN AL-BUTHE and PIROUZ

SEDAGHATV purchased one hundred thirty (130) $1,000 American Express Travelers

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Checks. The bank charged $1,300 in fees for the travelers checks. Defendant

SOLIMAN AL-BUTHE signed and used check #9456, in the amount of $131,300,

written off of the AI-Haramain account at the Bank of America, to pay the bank for these

American Express Travelers Checks. The money used to purchase these checks was

derived from the Egyptian donor.

       I)        On or about March 11,2000, defendant PIROUZ SEDAGHATY returned

to the Bank of America in Ashland, Oregon. He requested that a cashier's check, in the

amount of $21,000, be issued to defendant SOLIMAN AL-BUTHE. The funds used to

purchase this cashier's check were derived from the Egyptian donor. Someone later

wrote a notation at the bottom of AI-Haramain Islamic Foundation, Inc.'s copy of the

cashier's check, which stated: "Donation for Chichania Refugees."

       J)        On or about March 11, 2000, defendants SOLIMAN AL-BUTHE and

PIROUZ SEDAGHATY signed an agreement which reads in part:

       This is an agreement bet (sic) Soliman and Abu Yunus. This agreement states,
       that Abu Yunus is turning all monies and responsibilities that were collected for
       the Brothers and Sisters in Chechnya over to Brother Soliman. Soliman states
       that he has received monies in the amount of $186,644.70 and he also fully
       relieves Abu Yunus of all responsibilities to the money.

A handwritten notation at the bottom of this agreement states: "I deposit the amanet

[gift] in Alharamain head office for Chechenya refugees." On or about March 11, 2000,

defendants SOLIMAN AL-BUTHE and PIROUZ SEDAGHATY signed another

agreement which was identical to the first agreement, except that defendants

represented that defendant SOLIMAN AL-BUTHE had received $188,465.00 from

defendant PIROUZ SEDAGHATY, rather than $186,644.70.

       K)        On or about March 12,2000, defendant SOLIMAN AL-BUTHE departed

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the United States from JFK International Airport in New York for Riyadh, Saudi Arabia

with the funds donated by the Egyptian. As part of the conspiracy, defendant

SOLIMAN AL-BUTHE intentionally failed to file a Form 4790, Report of International

Transportation of Currency or Monetary Instruments, as required by law, with the United

States Customs Service, acknowledging that he was leaving the United States with

travelers checks exceeding $10,000.

        L}        On or before March 25, 2000, defendant SOLIMAN AL-BUTHE cashed

the one hundred thirty (130) $1,000 American Express Travelers Checks at AI Rajhi

Banking and Investment in Saudi Arabia.

        M)        Sometime after March 12,2000, defendant SOLIMAN AL-BUTHE

deposited the $21,000 cashiers check he obtained from the Bank of America in Oregon

into an account he had at AI Rajhi Banking and Investment in Saudi Arabia.

        N}        In June 2000, defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC.

purchased a bUilding in Springfield, Missouri for approximately $375,000. A large

portion of the funds used by defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC.

to purchase this bUilding came from a Bank of America account in Oregon controlled by

defendants SOLIMAN AL-BUTHE and PIROUZ SEDAGHATY, on behalf of defendant

AL-HARAMAIN ISLAMIC FOUNDATION, INC.

        0)        In or about September 2001, defendant PIROUZ SEDAGHATY provided

a financial summary to his accountant detailing the funds used by defendant AL-

HARAMAIN ISLAMIC FOUNDATION, INC. to purchase the building in Springfield,

Missouri. This accounting was false in that it represented that check #9456, referred to

in paragraph H of the Manner and Means section of this indictment above, dated March

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10, 2000, in the amount of $131,300, was part of the funds used by defendant AL-

HARAMAIN ISLAMIC FOUNDATION, INC. to purchase the Missouri building. In fact,

these funds had been transported out of the United States by defendant SOLIMAN AL-

BUTHE in March 2000. The accounting was additionally false in that defendant

PIROUZ SEDAGHATY represented to the accountant that the $21,000 cashier's check

to defendant SOLIMAN AL-BUTHE, referred to in paragraph I of the Manner and

Means section of this indictment above, were funds which had been returned to the

original donor.

         P)       In September and October 2001, an accountant in Medford, Oregon,

relying on information provided to him by defendant PIROUZ SEDAGHATY, prepared a

2000 Form 990, Return of Organization Exempt from Income Tax. This return was false

in that it represented that check #9456, dated March 10, 2000, in the amount of

$131,300, was used by defendant AL-HARAMAIN ISLAMIC FOUNDATION,INC. as

part of the funds to purchase a building in Springfield, Missouri. The return was

additionally false in that it represented that the $21,000 cashier's check to defendant

SOLIMAN AL-BUTHE were funds which had been returned to an AI-Haramain (Riyadh)

donor.

         Q)       On or about October 16, 2001, defendant PIROUZ SEDAGHATY signed a

2000 Form 990, Return of Organization Exempt from Income Tax, on behalf of

defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC., which he knew to be false.

         R)       In October 2001 , defendant PIROUZ SEDAGHATY caused a 2000 Form

990, Return of Organization Exempt from Income Tax, which he knew to be false, to be



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filed with the Internal Revenue Service on behalf of defendant AL-HARAMAIN ISLAMIC

FOUNDATION, INC.

III. Overt Acts of the Conspiracy

        In furtherance of the conspiracy, and to effect the objects thereof, the following

overt acts were committed in the District of Oregon and elsewhere:

        A)        In February 1999, defendant PIROUZ SEDAGHATY filed an application to

incorporate the AI-Haramain Islamic Foundation in Oregon. He listed a mail service

business located at 1257 Siskiyou Blvd. in Ashland, Oregon as the corporation's

principal place of business.

        B)        In late 1999 and early 2000, AI-Haramain (Riyadh) published articles

captioned "The Latest News About the Jihaad in Chechnya" on its website,

www.alharamain.org, which proVided details concerning the mujahideen's progress in

fighting the Russian army. The website also contained a prayer for the Chechen

mujahideen which calls for aid for the "Mujaahideen brothers in Chechnya." The

website also contained a link to www.gogaz.com. Through this link, details were

available on how to fund the Chechen mujahideen.

        C)        On or about February 24, 2000, a donor to AI-Haramain (Riyadh) wire

transferred $149,985 from a bank account in London, England to a Bank of America

account in the name of defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC. in

Ashland. Oregon.

        D)        On or about March 7, 2000, defendant SOLIMAN AL-BUTHE flew from

Riyadh, Saudi Arabia to Oregon. AL-BUTHE entered the United States pursuant to a



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business visa and listed his intended destination as 1257 Siskiyou Blvd., Ashland,

Oregon.

        E)        On or about March 10, 2000, defendants PIROUZ SEDAGHATY and

SOLIMAN AL-BUTHE purchased one hundred thirty (130) $1,000 American Express

Travelers Checks at the Bank of America in Ashland, Oregon.

        F)        On or about March 11,2000, defendant PIROUZ SEDAGHATY

purchased a $21,000 cashier's check, payable to defendant SOLIMAN AL-BUTHE,

from the Bank of America in Ashland, Oregon.

        G)        On or about March 12.2000, defendant SOLIMAN AL-BUTHE departed

the United States on Saudi Air flight #38 from New York to Riyadh, Saudi Arabia.

        H)        In June 2000, defendant AL-HARAMAIN ISLAMIC FOUNDATION, INC.

purchased a building in Springfield, Missouri, paid for in large part with funds provided

by AI-Haramain (Riyadh).

        I)        In or about September 2001, defendant PIROUZ SEDAGHATY gave his

accountant a financial summary of the funds used by defendant AL-HARAMAIN

ISLAMIC FOUNDATION, INC. to purchase a building in Springfield, Missouri.

        J)        In October 2001, defendant PIROUZ SEDAGHATY signed a Form 990,

Return of Organization Exempt from Income Tax, on behalf of defendant AL-

HARAMAIN ISLAMIC FOUNDATION, INC.

        In violation of Title 18, United States Code, Section 371.

11/




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                                             Count Two

                         False Return by Tax Exempt Organization

       The Introductory Allegations, and the Manner and Means in Count One, are

incorporated as if fully set forth herein.

       On or about October 16, 2001, in the District of Oregon and elsewhere,

defendant Al-HARAMAIN ISLAMIC FOUNDATION, INC., an Oregon corporation, and

defendant PIROUZ SEDAGHATY, a resident of Ashland, Oregon, did willfully make and

subscribe a Form 990, Return of Organization Exempt from Income Tax. for the

calendar year 2000, which was verified by a written declaration that it was made under

the penalties of perjury and was filed with the Internal Revenue Service, which said

Form 990 defendants then and there well knew and believed was not true and correct

as to every material matter in that:

                 Line 1 understated "Contributions, gifts, grants, and similar amounts

                 received;n

                 Line 22 understated "Grants and allocations;" and

                 line 57a overstated "lands, bUildings. and equipment: basis:

       In violation of Title 26, United States Code, Section 7206(1) and Title 18, United
       States Code, Section 2.

                                         Count Three

                  Failure to File Report of International Transportation of

                              Currency or Monetary Instruments

       The Introductory Allegations, and Manner and Means in Count One, are

incorporated as if tully set forth herein.


lndictmenl- 15
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        On or about March 12,2000, in the District of Oregon and elsewhere, defendant

SOLIMAN AL-BUTHE, did knowingly transport, mail, and ship, monetary instruments of

more than $10,000 from a place within the United States to a place outside the United

States, that is, he knowingly transported, mailed or shipped $130,000 in travelers

checks from Oregon to New York to Saudi Arabia, and, in so doing, did unlawfully,

knowingly and Willfully fail to file a report of that transportation, as required by Title 31,

United States Code, Section 5316{a)(1 )(A), and Title 31, Code of Federal Regulations,

Section 103.23, with the United States Customs Service.

        In violation of Title 18, United States Code, Sections 5316(a)(1 )(A) and 5322,
        and Title 31, Code of Federal Regulations, Sections 103.11 and 103.23

                                    Forfeiture Allegation

        Upon conviction of the violation alleged in Counts One or Three, defendant shall

forfeit all property involved in or traceable to such violation, including but not limited to

$130,000.

        Pursuant to Title 18, United States Code, Section 982{a)(1 )(A).

        If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

        (a) cannot be located upon the exercise of due diligence;

        (b) has been transferred or sold to, or deposited with, a third party;

        (c) has been placed beyond the jurisdiction of the court;

        (d) has been substantially diminished in value; or

        (e) has been commingled with other property which cannot be divided without

difficulty;


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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by

18 U.S.C. § 982(b), to seek forfeiture of any other property of said defendant up to the

value of the forfeitable property described above.


                                                A True Bill:


                                                       lsi Grand Jury Foreperson

                                                Grand Jury Forepers9f! co




By:




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT C TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) TIMOTHY J. COLEMAN
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
         Case 6:05-cr-60008-AA       Document 255-6      Filed 02/01/10    Page 29 of 60




                           U.S. District Court
                       District of Oregon (Eugene)
         CRIMINAL DOCKET FOR CASE #: 6:05-cr-60008-HO All Defendants


Case title: USA v. Al-Haramain Islamic Foundation, Inc et al Date Filed: 02/17/2005

Assigned to: U.S. District Judge
Michael R. Hogan
Referred to: Magistrate Judge Thomas
M. Coffin

Defendant (1)
Al-Haramain Islamic Foundation, Inc          represented by Marc D. Blackman
                                                            Ransom Blackman, LLP
TERMINATED: 09/08/2005                                      1001 SW Fifth Avenue
                                                            Suite 1400
                                                            Portland , OR 97204
                                                            (503) 228-0487
                                                            Fax: (503) 227-5984
                                                            Email: marc@ransomblackman.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

Pending Counts                                              Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                           Disposition
18:371 - CONSPIRACY TO                                      On government's motion, order
DEFRAUD THE UNITED STATES                                   indictment dismissed without prejudice.
(1)                                                         Judge Coffin
18:7206(1) and 18:2 - FALSE
                                                            On government's motion, order
RETURN BY TAX EXEMPT
                                                            indictment dismissed without prejudice.
ORGANIZATION
                                                            Judge Coffin
(2)

Highest Offense Level (Terminated)
Felony




                                                                                            1 of 29
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Complaints                                             Disposition
None

Assigned to: U.S. District Judge
Michael R. Hogan

Defendant (2)
Pirouz Sedaghaty                         represented by Lawrence H. Matasar
also known as                                           Lawrence Matasar, PC
Pete Seda                                               621 SW Morrison Street
also known as                                           Suite 1025
Perouz Seda Ghaty                                       Portland , OR 97205
also known as                                           (503) 222-9830
Abu Yunus                                               Fax: (503) 274-8575
                                                        Email: larry@pdxlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: CJA Appointment

                                                       Steven T. Wax
                                                       Federal Public Defender
                                                       101 SW Main Street
                                                       Suite 1700
                                                       Portland , OR 97204
                                                       (503) 326-2123
                                                       Fax: (503) 326-5524
                                                       Email: steve_wax@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Public Defender or
                                                       Community Defender Appointment

Pending Counts                                         Disposition
18:371 - CONSPIRACY TO
DEFRAUD THE UNITED STATES
(1)
18:7206(1) and 18:2 - FALSE
RETURN BY TAX EXEMPT
ORGANIZATION
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                                      Disposition




                                                                                       2 of 29
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None

Highest Offense Level (Terminated)
None

Complaints                                             Disposition
None

Assigned to: U.S. District Judge
Michael R. Hogan
Referred to: Magistrate Judge Thomas
M. Coffin

Defendant (3)
Soliman Hamd Al-Buthe
also known as
Soliman Al-Buthe

Pending Counts                         Disposition
18:371 - CONSPIRACY TO
DEFRAUD THE UNITED STATES
(1)
31:5316(a)(1)(A) and 5322 and 31CFR
103.11 and 103.23 - FAILURE TO
FILE REPORT OF INTERNATIONAL
TRANSPORTATION OF
CURRENCY OR MONETARY
INSTRUMENTS
(3)

Highest Offense Level (Opening)
Felony

Terminated Counts                      Disposition
None

Highest Offense Level (Terminated)
None

Complaints                             Disposition
None




                                                                                      3 of 29
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Plaintiff
USA                                            represented by Christopher L. Cardani
                                                              United States Attorney's Office
                                                              405 E. Eighth Avenue
                                                              Suite 2400
                                                              Eugene , OR 97401
                                                              (541) 465-6771
                                                              Fax: (541) 465-6840
                                                              Email: chris.cardani@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Charles F. Gorder , Jr.
                                                              United States Attorney's Office
                                                              1000 S.W. Third Avenue
                                                              Suite 600
                                                              Portland , OR 97204-2902
                                                              (503) 727-1021
                                                              Fax: (503)727-1117
                                                              Email: charles.gorder@usdoj.gov
                                                              ATTORNEY TO BE NOTICED

                                                              David L. Atkinson
                                                              United States Attorney's Office
                                                              1000 S.W. Third Avenue
                                                              Suite 600
                                                              Portland , OR 97204
                                                              (503) 727-1005
                                                              Fax: (503) 727-1117
                                                              Email: david.atkinson@usdoj.gov
                                                              ATTORNEY TO BE NOTICED


Date Filed         #    Docket Text
02/17/2005          1   Indictment as to Al-Haramain Islamic Foundation, Inc (1) counts 1, 2, Pirouz
                        Sedaghaty (2) counts 1, 2, Soliman Hamd Al-Buthe (3) counts 1, 3 (sln, )
                        (Entered: 02/18/2005)
02/18/2005          2   Notice of Case Assignment to Judge Michael R. Hogan. (sln, ) (Entered:
                        02/18/2005)
03/30/2005          3   Notice of Attorney Appearance Marc D. Blackman appearing for Al-
                        Haramain Islamic Foundation, Inc (sln, ) (Entered: 04/01/2005)
04/04/2005          4   Scheduling Order as to Al-Haramain Islamic Foundation, Inc Arraignment set
                        for 4/11/2005 at 01:30PM in Eugene before Magistrate Judge Thomas M.
                        Coffin. by Judge Thomas M. Coffin (cw, ) (Entered: 04/04/2005)
04/11/2005          5   Motion to Continue Arraignmentfiled by USA as to Al-Haramain Islamic
                        Foundation, Inc. (sln, ) (Entered: 04/11/2005)




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04/11/2005     6   Scheduling Order as to Al-Haramain Islamic Foundation, Inc: Pursuant to the
                   joint stipulation of the parties, Arraignment reset from 4/11/05 to 4/18/2005 at
                   01:30PM in Eugene before Magistrate Judge Thomas M. Coffin. This
                   stipulated postponement is for the sole purpose of allowing defendant
                   sufficient opportunity to respond to Plaintiff's Motion to Continue
                   Arraignment of Al-Haramain Islamic Foundation, Inc. 5 and is entered into by
                   the parties without constituting any waiver of rights or remedies. by Judge
                   Thomas M. Coffin (lae, ) (Entered: 04/11/2005)
04/14/2005     7   Memorandum in Opposition to Motion by Al-Haramain Islamic Foundation,
                   Inc regarding Motion to Continue Arraignment 5 filed by USA, (sln, )
                   (Entered: 04/18/2005)
04/18/2005     8   Declaration by Thomas H. Nelson regarding Motion to Continue Arraignment
                   5 filed by USA, (sln, ) (Entered: 04/18/2005)
04/18/2005     9   Minutes of Proceedings:Motion Hearing before Judge Thomas M. Coffin as
                   to Al-Haramain Islamic Foundation, Inc held on 4/18/2005 regarding Motion
                   to Continue Arraignment 5 filed by USA. Ordered motion granted to the
                   extent that arraignment is set for 8/8/05, at 1:30 p.m., before Judge Coffin.
                   Counsel Present for Plaintiff: Chris Cardani.Counsel Present for Defendant:
                   Marc Blackman.(Court Reporter Deborah Wilhelm) (cw, ) (Entered:
                   04/19/2005)
08/04/2005    10   Motion to Dismiss filed by USA as to Al-Haramain Islamic Foundation, Inc.
                   (sln, ) (Entered: 08/04/2005)
08/04/2005    11   Scheduling Order as to Al-Haramain Islamic Foundation, Inc Status
                   Conference set for 8/5/2005 at 01:30PM by Telephone before Magistrate
                   Judge Thomas M. Coffin. The Government may appear in person if they so
                   wish. The court will initiate the call. by Judge Thomas M. Coffin (cw, )
                   Modified on 8/4/2005 (cw, ). (Entered: 08/04/2005)
08/05/2005    12   Minutes of Proceedings:Scheduling Conference before Judge Thomas M.
                   Coffin as to Al-Haramain Islamic Foundation, Inc. Defendant is allowed until
                   8/15/05, to file a response to motion [#10] to dismiss. The Government shall
                   file a reply by 8/22/05. Ordered Oral Argument on motion [#10] to dismiss set
                   for 8/29/2005 at 01:30PM in Eugene before Magistrate Judge Thomas M.
                   Coffin. Ordered arraignment set 8/8/05, is vacated. Counsel Present for
                   Plaintiff: Chris Cardani.Counsel Present for Defendant: Marc Blackman (Tel).
                   (Court Reporter Deborah Wilhelm) (cw, ) (Entered: 08/05/2005)
08/15/2005    13   Motion to Strike Name and All References from Indictment Oral Argument
                   requested by Al-Haramain Islamic Foundation, Inc. (Blackman, Marc)
                   (Entered: 08/15/2005)
08/15/2005    14   Response to Motion by Al-Haramain Islamic Foundation, Inc regarding
                   Motion to Dismiss 10 filed by USA,, Motion to Strike Name and All
                   References from Indictment 13 filed by Al-Haramain Islamic Foundation, Inc,
                   (Attachments: # 1 Attachment Exhibit I# 2 Attachment Exhibit J# 3
                   Attachment Exhibit K# 4 Attachment Exhibit L)(Blackman, Marc) (Entered:
                   08/15/2005)




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08/17/2005    15   Motion for Leave to File Supplemental Exhibits by Al-Haramain Islamic
                   Foundation, Inc. (Attachments: # 1 Exhibit M# 2 Exhibit N# 3 Exhibit O)
                   (Blackman, Marc) (Entered: 08/17/2005)
08/18/2005    16   Scheduling Order as to Al-Haramain Islamic Foundation, Inc (related
                   document(s)): Motion to Strike Name and All References from Indictment 13
                   Oral Argument set for 8/29/2005 at 01:30PM in Eugene before Magistrate
                   Judge Thomas M. Coffin. by Judge Thomas M. Coffin (cw, ) (Entered:
                   08/18/2005)
08/19/2005    17   Scheduling Order as to Al-Haramain Islamic Foundation, Inc granting
                   government's unopposed oral motion for extension of time to file reply;
                   Government allowed until 8/29/05 to file reply; Ordered resetting oral
                   argument on Government's Motion to Dismiss 10 and Defendant's Motion to
                   Strike Name and All References from Indictment 13 from 8/29/05 to 9/8/2005
                   at 01:30PM in Eugene before Magistrate Judge Thomas M. Coffin. by Judge
                   Thomas M. Coffin (sln, ) (Entered: 08/19/2005)
08/29/2005    18   Response to Motion by USA regarding Motion to Strike Name and All
                   References from Indictment 13 filed by Al-Haramain Islamic Foundation, Inc,
                   and Reply to response to Motion to Dismiss 10 filed by USA, (sln, ) (Entered:
                   08/29/2005)
09/08/2005    19   Minutes of Proceedings:Motion Hearing before Judge Thomas M. Coffin as
                   to Al-Haramain Islamic Foundation, Inc held on 9/8/2005 regarding Motion to
                   Strike Name and All References from Indictment 13 filed by Al-Haramain
                   Islamic Foundation, Inc. and Motion to dismiss defendant Al-Haramain
                   Islamic Foundation, Inc. Ordered motion to dismiss [#10] is granted, without
                   prejudice. Ordered motion [#13] to strike name and all references from the
                   indictment is taken under advisement for the court to review proposed
                   amendments/deletions from indictments submitted by counsel. Upon the
                   court's ruling, the Government shall prepare an amended indictment for fiing.
                   The original indictment shall remain as part of the case record. Motion taken
                   under advisement as of 9/8/2005. Defendant's Motion [#15] to file
                   supplemental exhibits is granted.Counsel Present for Plaintiff: Chris
                   Cardani.Counsel Present for Defendant: Marc Blackman.(Court Reporter
                   Kristi Anderson) (cw, ) (Entered: 09/08/2005)
09/12/2005    20   Order as to Al-Haramain Islamic Foundation, Inc: The Government is directed
                   to file its version of the redacted indictment with the court. By Judge Thomas
                   M. Coffin (cw, ) (Entered: 09/12/2005)
09/16/2005    21   Transcript of Proceedings as to Al-Haramain Islamic Foundation, Inc for the
                   hearing held on 9/8/05 before Judge Thomas M. Coffin. Court Reporter: Kristi
                   Anderson. (sln, ) (Entered: 09/16/2005)
09/21/2005    22   Redacted Indictment as to Pirouz Sedaghaty, Soliman Hamd Al-Buthe (sln, )
                   (Entered: 09/22/2005)
08/15/2007    23   Minutes of Proceedings:First / Initial Appearance before Judge Thomas M.
                   Coffin as to Pirouz Sedaghaty held on 8/15/2007;Arraignment held on counts
                   Pirouz Sedaghaty (2) Count 1,2;Defendant advised of rights and charges; Not
                   guilty plea entered; Order that Motions are due in 21 days and Discovery is




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                   due in 10 days; Attorney Larry Matasar appears on behalf of defendant.
                   Counsel requests appointment for all further proceedings. Ordered defendant
                   shall file a financial affidavit with the court, under seal, prior to the next
                   scheduled hearing. Detention Hearing and Trial Setting Hearing is set for
                   8/22/2007 at 10:30AM in Eugene before Magistrate Judge Thomas M.
                   Coffin.Counsel Present for Plaintiff: Christopher Cardani.Counsel Present for
                   Defendant: Larry Matasar.(Court Reporter Deborah Wilhelm) (cw) (Entered:
                   08/15/2007)
08/16/2007    24   Arrest Warrant Returned Executed on 8/15/07 as to Pirouz Sedaghaty. (sln)
                   (Entered: 08/16/2007)
08/20/2007    25   Scheduling Order as to Pirouz Sedaghaty: Ordered Detention Hearing set for
                   8/22/2007, is advanced from 10:30AM to 09:30AM in Eugene before
                   Magistrate Judge Thomas M. Coffin. Ordered financial affidavit submitted to
                   the court by defendant shall be filed under seal. Ordered motion to appoint Mr.
                   Matasar as counsel for defendant is granted. Ordered oral motion to allow
                   defendant to retain expert witness for the purpose of detention hearing is
                   granted. Ordered oral motion to appoint co-counsel for defendant is under
                   advisement. by Judge Thomas M. Coffin (cw) (Entered: 08/20/2007)
08/20/2007    26   Financial Affidavit - CJA23 (document filed under seal) by Pirouz Sedaghaty.
                   (lae) (Entered: 08/20/2007)
08/20/2007    27   Order as to Pirouz Sedaghaty regarding Order 25 : The court amends the order
                   granting the appointment of Mr. Matasar as counsel of record for defendant
                   Sedaghaty, to reflect: The order is Nunc Pro Tunc to August 15, 2007. by
                   Judge Thomas M. Coffin (cw) (Entered: 08/20/2007)
08/21/2007    28   Memorandum in Support of Motion by USA as to Pirouz Sedaghaty Pretrial
                   Detention (Attachments: # 1 Exhibit A# 2 Exhibit B through C# 3 Exhibit D
                   through E# 4 Exhibit F through G# 5 Exhibit H through L# 6 Exhibit M
                   through P) (Cardani, Christopher) (Entered: 08/21/2007)
08/21/2007    29   Memorandum in Support of Motion by USA as to Pirouz Sedaghaty Pretrial
                   Detention (Attachments: # 1 Exhibit A# 2 Exhibit B through C# 3 Exhibit D
                   through E# 4 Exhibit F through G# 5 Exhibit H through L# 6 Exhibit M
                   through P) (Cardani, Christopher) (Entered: 08/21/2007)
08/21/2007    30   Order Granting Motion for Expert Travel Expenses as to Pirouz Sedaghaty. by
                   Judge Thomas M. Coffin signed on 8/21/07. (lae) (Entered: 08/21/2007)
08/21/2007    31   Memorandum in Support of Motion by Pirouz Sedaghaty (Matasar, Lawrence)
                   Additional attachment(s) added on 8/21/2007 (Weller, Christine). Additional
                   attachment(s) added on 8/21/2007 (Pew, Charlene). (Entered: 08/21/2007)
08/21/2007    32   Administrative Correction of the Record: A clerical error pursuant to Fed. R.
                   Crim. P 36 has been discovered in the case record referencing document 31
                   and the Clerk is directed to make the following administrative corrections to
                   the record and to notify all parties accordingly: Exhibits A-K added to
                   memorandum by Judge Thomas M. Coffin (cw) (Entered: 08/22/2007)
08/22/2007    33   Minutes of Proceedings:Detention Hearing before Judge Thomas M. Coffin




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                   as to Pirouz Sedaghaty: Evidence adduced and witnesses sworn. Government
                   witnesses: Daveed Gartenstein-Ross, Colleen Anderson, Evan Kohlmann
                   (Tel). Defense witnesses: Asad Adukhalin, Karen Caldwell, Jeffrey S. Golden.
                   Ordered exhibits attached to the Government's detention memorandum are
                   incorporated as exhibits for this hearing and are received. Defendant tenders
                   Iranian passport and US passport (issued 1/21/04) to the clerk as exhibits.
                   Passport exhibits are transferred to the custody of Pretrial Services following
                   hearing. Defendant shall tender 3rd passport issued to the custody of the court.
                   Defendant's expert witness information is ordered to be filed with the court
                   under seal. A copy shall be provided to the U.S. Attorney. Further Pretrial
                   Services interview shall be conducted. Ordered issued of detention is taken
                   under advisement. Further Detention Hearing and trial setting hearing is set
                   for 9/10/2007 at 09:00AM in Eugene before Magistrate Judge Thomas M.
                   Coffin. Ordered attorney Steve Wax is appointed as co-counsel for defendant
                   for all further proceedings. Counsel Present for Plaintiff: Christopher
                   Cardani.Counsel Present for Defendant: Larry Matasar.(Court Reporter Kristi
                   Anderson) (cw) (Entered: 08/23/2007)
08/27/2007    34   Order as to Pirouz Sedaghaty that Pretrial Services is to maintain possession
                   of the defendants passports (3) throughout the pendency of this case. by Judge
                   Thomas M. Coffin signed on 8/27/07. (sln) (Entered: 08/27/2007)
08/27/2007    35   CJA 20 Appointment of Attorney Lawrence H. Matasar for Pirouz Sedaghaty.
                   by Judge Thomas M. Coffin (sln) (Entered: 08/27/2007)
08/31/2007    36   Notice of Attorney Appearance Charles F. Gorder, Jr appearing for USA
                   (Gorder, Charles) (Entered: 08/31/2007)
09/10/2007    37   Minutes of Proceedings:Detention Hearing before Judge Thomas M. Coffin
                   as to Pirouz Sedaghaty: Ordered hearing recessed and continued to Detention
                   Hearing is set for 9/10/2007 at 01:30PM in Eugene before Magistrate Judge
                   Thomas M. Coffin.Counsel Present for Plaintiff: Christopher Cardani.Counsel
                   Present for Defendant: Lawrence Matasar.(Court Reporter Kristi Anderson)
                   (cw) (Entered: 09/10/2007)
09/10/2007    38   Minutes of Proceedings:Detention Hearing before Judge Thomas M. Coffin
                   as to Pirouz Sedaghaty: Defendant is ordered released on conditions. The
                   Government shall have until 9/11/07, to discuss proposed conditions of release
                   with Pretrial Services. Pretrial Services shall share information gathered
                   during interviews with defendant with the Government, as set forth on the
                   record. A copy of any information provided shall be also provided to defense
                   counsel in the same format. The court finds that defendant does not pose a
                   danger to the community. Status Conference before Judge Thomas M. Coffin
                   as to Pirouz Sedaghaty: Defendant moves for this matter to be declared
                   complex. Ordered oral motion granted. Jury Trial is set for 4/16/2008 at
                   09:00AM in Eugene before U. S. District Judge Michael R Hogan. (Estimated
                   1 week jury trial). Status Conference is set for 2/19/2008 at 01:30PM in
                   Eugene before Magistrate Judge Thomas M. Coffin. Defendant's appearance is
                   required for the status conference. Ordered 180 days are excluded under the
                   Speedy Trial Act, commencing on 10/25/07, based upon the court's finding of
                   this matter to be complex. Defendant shall have 45 days from the date of this
                   hearing to file motions.Counsel Present for Plaintiff: Christopher




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                   Cardani.Counsel Present for Defendant: Lawrence Matasar.(Court Reporter
                   Deborah Wilhelm) (cw) (Entered: 09/10/2007)
09/10/2007    39   Minutes of Proceedings:Continuation of Detention Hearing before Judge
                   Thomas M. Coffin as to Pirouz Sedaghaty. The court finds no evidence that
                   defendant is a danger to the community, based on: 1) the charges filed against
                   defendant do not carry a presumption of danger to the community, 2) nor by
                   the evidence presented to the court. The court finds an inference that
                   defendant may be a flight risk, but conditions of release can be formed to
                   address the court's concerns. Order Setting Methods and Conditions of Release
                   signed in open court. See formal order setting forth conditions. The
                   Government informs the court of intent to appear release order. Written appeal
                   shall be filed with the court. Ordered Hearing on appeal/review of detention is
                   set for 9/11/2007 at 11:00AM in Eugene before U. S. District Judge Michael R
                   Hogan.Counsel Present for Plaintiff: Christopher Cardani.Counsel Present for
                   Defendant: Lawrence Matasar.(Court Reporter Deborah Wilhelm) (cw)
                   (Entered: 09/10/2007)
09/10/2007    40   Appeal of Magistrate Judge Decision to District Judge filed by USA as to
                   Pirouz Sedaghaty (Cardani, Christopher) (Entered: 09/10/2007)
09/11/2007    41   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   September 10, 2007 at 3:30 p.m. before Judge Thomas M. Coffin. Court
                   Reporter: Deborah Wilhelm. (ljb) Modified on 9/14/2007 to relate to minute
                   order 39 (Pew, Charlene). (Entered: 09/11/2007)
09/11/2007    42   Minutes of Proceedings: - Appeal of Release Order hearing held before
                   Judge Michael R Hogan as to Pirouz Sedaghaty. Government's Oral Motion
                   for Stay of Judge Coffin's release order granted until ruling at the 9/18/07
                   hearing. Continuation of Appeal of Release Order hearing is set for 9/18/2007
                   at 11:45AM (advanced from 1pm) in Eugene before U. S. District Judge
                   Michael R Hogan.Counsel Present for Plaintiff: Chris Cardani.Counsel
                   Present for Defendant: Lawrence Matasar.(Court Reporter Deborah Wilhelm)
                   (Interpreter Present: None) (lf) (Entered: 09/14/2007)
09/14/2007    43   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   September 10, 2007 at 1:30 p.m. before Judge Thomas M. Coffin. Court
                   Reporter: Deborah Wilhelm. (Related doc. 38 ) (cp) (Entered: 09/14/2007)
09/17/2007    44   Memorandum in Support of Motion by Pirouz Sedaghaty (Attachments: # 1
                   Exhibit A# 2 Exhibit B# 3 Exhibit C# 4 Exhibit D# 5 Exhibit E# 6 Exhibit F#
                   7 Exhibit G# 8 Exhibit H# 9 Exhibit I# 10 Exhibit J# 11 Exhibit K# 12 Exhibit
                   L# 13 Exhibit M) (Matasar, Lawrence) (Entered: 09/17/2007)
09/18/2007    45   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   9/10/07 at 9am before Judge Thomas M. Coffin. Court Reporter: Kristi
                   Anderson. (sln) (Entered: 09/18/2007)
09/18/2007    47   Minutes of Proceedings: - Continuation of Hearing on Appeal of Release
                   Order held before Judge Michael R Hogan as to Pirouz Sedaghaty. Ruling
                   taken under advisement. Defendant's Exhibits 101 and 102 Received and held
                   by the court. Government Witness: Colleen Anderson (In Camera Hearing
                   held, gallery excused and ORDERED In Camera HEARING SEALED)




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                   Counsel Present for Plaintiff: Christopher Cardani.Counsel Present for
                   Defendant: Lawrence Matasar.(Court Reporter Deborah Wilhelm)(Interpreter
                   Present: None) (lf) (Entered: 09/21/2007)
09/19/2007    46   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   8/22/07 (pgs 1-172) before Judge Thomas M. Coffin. Court Reporter: Kristi
                   Anderson. (sln) (Entered: 09/19/2007)
10/18/2007    48   Record of Order as to Pirouz Sedaghaty; Defendant to file a financial affidavit
                   by October 25, 2007. Financial affidavit to be filed UNDER SEAL. by Judge
                   Michael R Hogan (lf) (Entered: 10/18/2007)
10/18/2007    49   Motion for Extension of Time for Filing Motions (Related Doc. 38 Detention
                   Hearing,,,,,, Status Conference,,,,, ) by Pirouz Sedaghaty. (Wax, Steven)
                   (Entered: 10/18/2007)
10/19/2007    50   ORDER Granting 49 Motion for Extension of Time to 12/14/07, to file pretrial
                   motions as to Pirouz Sedaghaty (2) by Judge Thomas M. Coffin (cw)
                   (Entered: 10/19/2007)
10/22/2007    51   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   9/11/07 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 10/22/2007)
10/22/2007    52   Partial Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held
                   on 9/18/07 before Judge Michael R. Hogan. Court Reporter: Deborah
                   Wilhelm. (sln) (Entered: 10/22/2007)
10/22/2007    53   First Motion for Discovery by Pirouz Sedaghaty. (Wax, Steven) (Entered:
                   10/22/2007)
10/30/2007    59   Scheduling Order as to Pirouz Sedaghaty (related document(s)): First Motion
                   for Discovery 53 Oral Argument is set for 12/17/2007 at 01:30PM in Eugene
                   before Magistrate Judge Thomas M. Coffin. by Judge Thomas M. Coffin (cw)
                   (Entered: 10/30/2007)
11/01/2007    60   Letter dated 10/25/07 from Steven Wax as to Pirouz Sedaghaty (filed under
                   seal) (sln) (Entered: 11/02/2007)
11/01/2007    61   Order as to Pirouz Sedaghaty regarding Mr. Wax's Letter 60 to the court dated
                   10/25/07. by Judge Michael R Hogan signed on 11/1/07. (sln) (Entered:
                   11/02/2007)
11/05/2007    62   Scheduling Order as to Pirouz Sedaghaty - Hearing is set for 11/7/2007 at
                   11:00AM in Eugene before U. S. District Judge Michael R Hogan. Ordered by
                   Judge Michael R Hogan (lf) (Entered: 11/05/2007)
11/07/2007    63   Minutes of Proceedings: - Hearing held before Judge Michael R Hogan as to
                   Pirouz Sedaghaty; Order to be issued. In Camera portion of hearing ordered
                   SEALED. Counsel Present for Plaintiff: Charles Gorder, Jr and Chris
                   Cardani.Counsel Present for Defendant: Lawrence Matasar and Steven Wax.
                   (Court Reporter Deborah Wilhelm)(Interpreter Present: None) (lf) (Entered:
                   11/08/2007)




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11/09/2007    64   RECORD OF order as to Pirouz Sedaghaty : Defendant shall identify the
                   name, address, and phone number of a third-party custodian, should defendant
                   be released, who agrees to: a) supervise the defendant in accordance with all
                   conditions of release; b) to use every effort to assure the appearance of the
                   defendant at all scheduled court proceedings; and c) to notify the court
                   immediately in the event the defendant violates any conditions of release, or
                   disappears. by Judge Michael R Hogan. 11/9/07. (cw) (Entered: 11/09/2007)
11/09/2007    65   Response by Pirouz Sedaghaty to Court's Order of 11/9/2007 (Attachments: #
                   1 Exhibit A) (Matasar, Lawrence) (Entered: 11/09/2007)
11/30/2007    66   Order Setting Conditions of Release as to Defendant Pirouz Sedaghaty by
                   Judge Michael R Hogan signed on 11/30/07. (sln) (Entered: 11/30/2007)
11/30/2007    67   Appearance Bond Entered as to Pirouz Sedaghaty in amount of $150,000 -
                   with cash posted in the amount of $58,981.00 Receipt #60002842. (sln)
                   (Entered: 11/30/2007)
11/30/2007    68   Minutes of Proceedings: - Argument on defendant's Oral Motion to Allow
                   defendant to go get a shot on Monday 12/3/07 before Judge Michael R Hogan
                   as to Pirouz Sedaghaty. Defendant's Oral Motion is allowed with the following
                   conditions: Defendant shall notify pretrial services when the defendant leaves
                   and when he returns within 2 hours to the residence. Judge Hogan to be called
                   if the defendant has not returned within the 2 hour time limitation. Portion of
                   the hearing ORDERED SEALED. Counsel Present for Plaintiff: Chris
                   Cardani.Counsel Present for Defendant: Lawrence Matasar.(Court Reporter
                   Deborah Wilhelm)(Interpreter Present: None) (lf) (Entered: 11/30/2007)
12/07/2007    69   Motion For Travel To Meet With Counsel And To Attend Religious Services
                   by Pirouz Sedaghaty. (Wax, Steven) (Entered: 12/07/2007)
12/07/2007    70   Motion to file affidavit under seal by Pirouz Sedaghaty. (sln) (Entered:
                   12/13/2007)
12/07/2007    76   Affidavit of Lawrence Matasar as to Pirouz Sedaghaty (filed under seal) (sln)
                   (Entered: 12/18/2007)
12/13/2007    71   Record of Order - as to Pirouz Sedaghaty; Defendant's Motion 70 to Seal
                   Motion dated December 5, 2007 and attorney Matasar's Affidavit is granted as
                   follows: Sealed documents shall be reflected on the electronic docket sheet.
                   Documents filed under seal shall be accessible to Pretrial Services, Judge
                   Hogan's staff and authorized court staff. Ordered - defendant Sadaghaty
                   required to file affidavit pursuant to previous ruling made at the in camera
                   hearing on November 30, 2007. Defendant's Motion 69 to Travel is granted to
                   the following extent and shall be effective for 30 days from today's date.
                   Permission is granted to travel to Portland and/or Eugene to meet with counsel
                   and to the Muslim American Society of South Oregon Mosque in Phoenix,
                   Oregon, for Friday services and to the Mosque on December 19, 20, or 21 for
                   the special Eid services, by automobile with at least 24 hours notice and prior
                   approval by Pretrial Services. Should the defendant's meetings with counsel
                   result in an overnight stay, he is to reside at the Community Correction Center,
                   as directed by Pretrial Services. Defendant Sedaghaty, or counsel to notify the
                   Pretrial Services Office of planned meetings with counsel at least 24 hours in




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                   advance. Defendant Sedaghaty to be transported by his wife via automobile
                   for Portland and/or Eugene meetings with counsel. Defendant shall advise
                   Pretrial Services Office when he leaves Medford. Defendant to be transported
                   to Medford by his wife or one of the Copelands with the expectation that his
                   travel time would be between 5 and 6 hours. Counsel to call to advise Pretrial
                   Services when defendant arrives at the Federal Defender's Office. Defendant
                   shall remain with Federal Defender staff while in Portland or Eugene except
                   while housed at CCC. Conditions contained in this order to be reassessed in 30
                   days. by Judge Michael R Hogan (lf) (Entered: 12/13/2007)
12/13/2007    72   Administrative Correction of the Record: A clerical error pursuant to Fed. R.
                   Crim. P 36 has been discovered in the case record referencing document 71
                   and the Clerk is directed to make the following administrative corrections to
                   the record and to notify all parties accordingly: Minute order #71 corrected to
                   reflect: Defendant to be transported from (not to) Medford by his wife or one
                   of the Copelands with the expectation that his travel time would be between 5
                   and 6 hours. by Judge Michael R Hogan (lf) (Entered: 12/13/2007)
12/13/2007    73   Motion to Continue / Reset Deadline For Filing Motions by Pirouz Sedaghaty.
                   (Wax, Steven) (Entered: 12/13/2007)
12/17/2007    74   Minutes of Proceedings:Time set for hearing on motion [#53] for pretrial
                   discovery before Judge Thomas M. Coffin as to Pirouz Sedaghaty. Ordered
                   Jury Trial is reset for 10/8/2008 at 09:00AM in Eugene before U. S. District
                   Judge Michael R Hogan. Status Conference is set for 2/19/2008 at 01:30PM in
                   Eugene before Magistrate Judge Thomas M. Coffin. Briefing on motion [#53]
                   for pretrial discovery shall be discussed at the status conference. Defendant's
                   appearance is required for the status conference. Ordered motion filing
                   deadline shall be set at the 2/19/08, status conference. Ordered 170 days are
                   excluded under the Speedy Trial Act, commencing on 5/3/08, based upon the
                   court's previous finding of this matter to be complex. Counsel Present for
                   Plaintiff: Christopher Cardani.Counsel Present for Defendant: Larry Matasar,
                   Steve Wax.(Court Reporter Kristi Anderson) (cw) (Entered: 12/17/2007)
12/17/2007    75   ORDER Granting 73 Motion to Continue / Reset as to Pirouz Sedaghaty (2),
                   as set forth in the court's previous minute order. by Judge Thomas M. Coffin
                   (cw) (Entered: 12/17/2007)
12/17/2007    79   Motion to Seal by Pirouz Sedaghaty. (filed under seal) (sln) (Entered:
                   01/07/2008)
12/18/2007    77   Protective Order as to Pirouz Sedaghaty by Judge Thomas M. Coffin signed
                   on 12/18/07. (sln) (Entered: 12/19/2007)
12/20/2007    78   Motion For Permission To Obtain Gainful Employment by Pirouz Sedaghaty.
                   (Wax, Steven) (Entered: 12/20/2007)
01/07/2008    80   ORDER Granting 79 Motion to Seal as to Pirouz Sedaghaty (2) by Judge
                   Michael R Hogan (sln) (Entered: 01/07/2008)
01/07/2008    81   Affidavit by Pirouz Sedaghaty (filed under seal) (sln) (Entered: 01/07/2008)
01/09/2008    82   Scheduling Order as to Soliman Hamd Al-Buthe Status Conference for




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                   Attorney Thomas Nelson to acknowledge terms of protective order is set for
                   1/14/2008 at 01:30PM in Eugene before Magistrate Judge Thomas M. Coffin.
                   by Judge Thomas M. Coffin (cw) (Entered: 01/09/2008)
01/14/2008    83   Minutes of Proceedings:Status Conference before Judge Thomas M. Coffin
                   as to Pirouz Sedaghaty: Attorney Thomas Nelson appears before the court and
                   acknowledges agreement to the terms of the court's protective order [#77]
                   Counsel Present for Plaintiff: Christopher Cardani, Charles Gorder
                   (Tel).Counsel Present for Defendant: Lawrence Matasar, Thomas Nelson.
                   (Court Reporter Kristi Anderson) (cw) (Entered: 01/14/2008)
01/18/2008    84   Motion for Hearing /Status Conference by Pirouz Sedaghaty. (Matasar,
                   Lawrence) (Entered: 01/18/2008)
01/18/2008    85   Scheduling Order as to Pirouz Sedaghaty; In-Chambers Status Conference
                   regarding release is set for 1/23/2008 at 09:30AM in Eugene before U. S.
                   District Judge Michael R Hogan. by Judge Michael R Hogan (lf) (Entered:
                   01/18/2008)
01/22/2008    86   Scheduling Order as to Pirouz Sedaghaty; ADVANCING Time Set for Status
                   Conference regarding release and changing location from chambers to In-
                   Court hearing on 1/23/2008 from 9:30am to 09:15AM in Eugene before U. S.
                   District Judge Michael R Hogan. by Judge Michael R Hogan (lf) (Entered:
                   01/22/2008)
01/23/2008    87   Minutes of Proceedings: - Status Conference regarding release status held
                   before Judge Michael R Hogan as to Pirouz Sedaghaty. Defendant's Motion
                   #84 for Status Conference regarding release status - granted. Defendant's
                   Motion #78 for Permission to Obtain Gainful Employment is denied, however,
                   defendant is allowed to obtain work. Exparte Motion to Seal granted and is
                   reflected in 1/7/08 minute order (doc #80). Counsel Present for Plaintiff: Chris
                   Cardani.Counsel Present for Defendant: Lawrence Matasar and Steven Wax.
                   (Court Reporter Deborah Wilhelm)(Interpreter Present: None) (lf) (Entered:
                   01/25/2008)
02/13/2008    89   Scheduling Order as to Pirouz Sedaghaty Status Conference is reset, at the
                   joint request of counsel, from 2/19/08, to 3/18/2008 at 01:30PM in Eugene
                   before Magistrate Judge Thomas M. Coffin. Defendant's appearance is
                   required for the status conference. Ordered defendant's deadline for filing
                   motions is extended to 3/18/08. Ordered motion [#53] for pretrial discovery is
                   taken under advisement as of 3/18/08. (related document: First Motion for
                   Discovery 53 Ordered by Judge Thomas M. Coffin. (cw) (Entered:
                   02/13/2008)
03/17/2008    90   Supplemental Motion for Discovery by Pirouz Sedaghaty. (Wax, Steven)
                   (Entered: 03/17/2008)
03/17/2008    91   Motion for Extension of Time by Pirouz Sedaghaty. (Wax, Steven) (Entered:
                   03/17/2008)
03/18/2008    92   Minutes of Proceedings:Motion Hearing before Judge Thomas M. Coffin as
                   to Pirouz Sedaghaty held on 3/18/2008: Ordered motion [#91] to extend
                   motion filing deadline is granted. A motions deadline shall be set by Judge




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                   Hogan. Ordered oral argument on motions [#53 and 91] for discovery (and
                   supplemental motion for discovery) is set for 4/29/08, at 10:45 a.m., at the
                   U.S. Courthouse in Eugene before Judge Hogan. The Government informs the
                   court that a motion will be filed with court regarding CIPA provisions, such
                   motion will be heard 4/29/08, at 10:45 a.m., before Judge Hogan. The
                   Government is allowed 30 days from the date of this hearing to file
                   preliminary responses to defendant's motions for discovery. Counsel Present
                   for Plaintiff: Christopher Cardani, Charles Gorder.Counsel Present for
                   Defendant: Larry Matasar, Steven Wax.(Court Reporter Deborah Wilhelm)
                   (cw) (Entered: 03/18/2008)
03/20/2008    93   Motion for Hearing for Pretrial Conference Pursuant to the Classified
                   Information Procedures Act filed by USA as to Pirouz Sedaghaty. (Cardani,
                   Christopher) (Entered: 03/20/2008)
03/21/2008    94   Scheduling Order as to Pirouz Sedaghaty; Government's Motion 93 for
                   Hearing for Pretrial Conference Pursuant to the Classified Information
                   Procedures Act Oral Argument is set for 4/29/2008 at 10:45AM in Eugene
                   before U. S. District Judge Michael R Hogan. by Judge Michael R Hogan (lf)
                   (Entered: 03/21/2008)
04/04/2008    95   Motion to Modify Conditions of Release filed by USA as to Pirouz Sedaghaty.
                   (Cardani, Christopher) (Entered: 04/04/2008)
04/16/2008    96   Order as to Pirouz Sedaghaty: The Government's unopposed oral request to
                   extend the deadline until 4/25/08, for a filing a response to the unclassified
                   aspects of defendant's discovery request is granted. by Judge Thomas M.
                   Coffin (cw) (Entered: 04/16/2008)
04/18/2008    97   Record of Order - Granting government's Motion 95 to Modify Conditions of
                   Release as to Pirouz Sedaghaty (2). Defendant's pretrial release conditions are
                   amended as follows - ordered not to have direct or indirect contact with the
                   following individuals: Barbara Cabral, Thomas Wilcox, Ferhad Erdogan,
                   Daveed Gartenstein-Ross, Helen Moore and Debra Ingram. by Judge Michael
                   R Hogan (lf) (Entered: 04/18/2008)
04/23/2008    98   Scheduling Order as to Pirouz Sedaghaty; CHANGING Time Set for
                   defendant's First Motion 53 for Discovery, defendant's Supplemental Motion
                   90 for Discovery, and government's Motion 93 for Hearing for Pretrial
                   Conference Pursuant to the Classified Information Procedures Act - Oral
                   Argument on 4/29/2008 from 10:45am to 11:15AM in Eugene before U. S.
                   District Judge Michael R Hogan. by Judge Michael R Hogan (lf) (Entered:
                   04/23/2008)
04/25/2008    99   Memorandum in Support of Motion by USA as to Pirouz Sedaghaty regarding
                   Motion for Hearing for Pretrial Conference Pursuant to the Classified
                   Information Procedures Act 93 filed by Plaintiff USA (Cardani, Christopher)
                   (Entered: 04/25/2008)
04/25/2008   100   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                   Discovery 53 filed by Defendant Pirouz Sedaghaty, Motion for Discovery 90
                   filed by Defendant Pirouz Sedaghaty (Gorder, Charles) (Entered: 04/25/2008)




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04/28/2008   101   Motion for Discovery (Reciprocal Discovery) filed by USA as to Pirouz
                   Sedaghaty. (Gorder, Charles) (Entered: 04/28/2008)
04/29/2008   102   Minutes of Proceedings: - Hearing held before Judge Michael R Hogan as to
                   Pirouz Sedaghaty; Government's Motion #93 for Hearing for Pretrial
                   Conference - granted. Ordered reply to discovery motions due 6/30/08.
                   Defendant's Motions #53 and #90 for Discovery to be reset for hearing.
                   Counsel Present for Plaintiff: Charles Gorder and Chris Cardani.Counsel
                   Present for Defendant: Lawrence Matasar and Steven Wax.(Court Reporter
                   Debby Bonds)(Interpreter for Defendant Present: None) (lf) (Entered:
                   05/01/2008)
05/16/2008   103   Order as to Pirouz Sedaghaty - The court is aware of communications between
                   defense counsel and the court security specialist regarding a sealed document
                   that is in her custody. At this time, no discussion among defense counsel or
                   any members of the defense team regarding the contents of the document is
                   permitted. by Judge Michael R Hogan (sln) (Entered: 05/16/2008)
06/16/2008   104   Motion for Extension of Time (Related Doc. 53 Motion for Discovery, 90
                   Motion for Discovery ) filed by USA as to Pirouz Sedaghaty. (Cardani,
                   Christopher) (Entered: 06/16/2008)
06/16/2008   105   Motion for Protective Order and Modify Court's May 16, 2008 Order by
                   Pirouz Sedaghaty. (Matasar, Lawrence) (Entered: 06/16/2008)
06/16/2008   106   Memorandum in Support of Motion by Pirouz Sedaghaty regarding Motion
                   for Protective Order and Modify Court's May 16, 2008 Order 105 filed by
                   Defendant Pirouz Sedaghaty (Matasar, Lawrence) (Entered: 06/16/2008)
06/18/2008   107   Record of Order - Granting government's Motion 104 for Extension of Time
                   to file classified response to defendant's discovery motions from 6/30/08 to
                   9/5/08 as to Pirouz Sedaghaty (2). by Judge Michael R. Hogan (lf) (Entered:
                   06/18/2008)
06/30/2008   108   Motion for Extension of Time to Respond to Defendant's Motion to Modify
                   Court's May 16, 2008, Order Prohibiting Communication within the Defense
                   Team (Related Doc. 105 Motion for Protective Order ) Oral Argument
                   requested. filed by USA as to Pirouz Sedaghaty. (Gorder, Charles) (Entered:
                   06/30/2008)
07/01/2008   109   Record of Order - Denying defendant's Motion 105 for Protective Order and
                   for Preliminary Protective Order as to Pirouz Sedaghaty (2) without prejudice;
                   Denying government's Motion 108 for Extension of Time to Respond to
                   defendant's Motion #105 as to Pirouz Sedaghaty (2) as Moot. Status
                   Conference to discuss issues pertaining to the motion is set for 7/15/2008 at
                   11:45AM in Eugene before U.S. District Judge Michael R. Hogan. by Judge
                   Michael R. Hogan (lf) (Entered: 07/01/2008)
07/01/2008   110   Record of Order as to Pirouz Sedaghaty ; Correcting 7/1/08 minute order #109
                   to reflect that it is defendant's Motion #105 to Modify Court's 5/16/08 Order
                   and for Preliminary Protective Order that is denied without prejudice. by
                   Judge Michael R. Hogan (lf) (Entered: 07/01/2008)




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07/02/2008   111   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on April
                   29, 2008 before Judge Michael R. Hogan. Court Reporter: C&C Court
                   Reporting (Deborah Bonds). (cw) (Entered: 07/02/2008)
07/09/2008   112   Scheduling Order as to Pirouz Sedaghaty ; ADVANCING Time Set for Status
                   Conference to discuss issues in Motion #105 on 7/15/2008 from 11:45am to
                   11:30AM in Eugene before U.S. District Judge Michael R. Hogan. by Judge
                   Michael R. Hogan (lf) (Entered: 07/09/2008)
07/15/2008   113   Minutes of Proceedings: - Status Conference held before Judge Michael R.
                   Hogan as to Pirouz Sedaghaty.Counsel Present for Plaintiff: Chris Cardani and
                   Charles Gorder (via telephone).Counsel Present for Defendant: Lawrence
                   Matasar and Steven Wax.(Court Reporter Deborah Wilhelm)(Interpreter for
                   Defendant Present: None) (lf) (Entered: 07/15/2008)
07/21/2008   114   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   8/15/07 before Judge Thomas M. Coffin. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/22/2008)
07/21/2008   115   Partial Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held
                   on 11.7.07 pgs 3,4 and 16 before Judge Michael R. Hogan. Court Reporter:
                   Deborah Wilhelm. (sln) (Entered: 07/22/2008)
07/21/2008   116   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   11/7/07 pgs 5-15 before Judge Michael R. Hogan. Court Reporter: Deborah
                   Wilhelm. (sln) (Sealed) (Entered: 07/22/2008)
07/21/2008   117   Partial Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held
                   on 11/30/07 pgs 2-4 before Judge Michael R. Hogan. Court Reporter: Deborah
                   Wilhelm. (sln) (Entered: 07/22/2008)
07/21/2008   118   Partial Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held
                   on 11/30/07 pg 5 before Judge Michael R. Hogan. Court Reporter: Deborah
                   Wilhelm. (Sealed) (sln) (Entered: 07/22/2008)
07/21/2008   119   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   1/23/08 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) Modified on 7/23/2008 (sln). (Entered: 07/22/2008)
07/21/2008   120   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   3/18/08 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/22/2008)
07/23/2008   121   Motion Amend Release Conditions re Order Setting Conditions of Release 66
                   by Pirouz Sedaghaty. (Wax, Steven) (Entered: 07/23/2008)
07/23/2008   122   Administrative Correction of the Record: A clerical error pursuant to Fed. R.
                   Crim. P 36 has been discovered in the case record referencing document 119
                   and the Clerk is directed to make the following administrative corrections to
                   the record and to notify all parties accordingly: correcting transcript date from
                   7/23/08 to 1/23/08. (sln) (Entered: 07/23/2008)
07/24/2008   123   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   12/17/07 pgs 1-9 before Judge Thomas M. Coffin. Court Reporter: Kristi




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                   Anderson. (sln) (Entered: 07/25/2008)
07/24/2008   124   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   1/14/08 pgs 1-6 before Judge Thomas M. Coffin. Court Reporter: Kristi
                   Anderson. (sln) (Entered: 07/25/2008)
08/22/2008   125   Record of Order - Defendant's Motion 121 to Amend Release Conditions as to
                   Pirouz Sedaghaty (2) is granted to the extent that request number #4 to strike
                   the third party custodial requirement is allowed and the motion is denied in all
                   other respects.Ordered by Judge Michael R. Hogan (lf) (Entered: 08/22/2008)
08/22/2008   126   Record of Order as to Pirouz Sedaghaty; Correction of 8/22/08 minute order
                   #125 to reflect that defendant's Motion #121 is also granted with respect to
                   request #6 to strike the restriction of defendant to his residence at all times
                   except for medical necessity or court appearances or other activities
                   specifically approved by the court. Ordered by Judge Michael R. Hogan (lf)
                   (Entered: 08/22/2008)
09/05/2008   127   Notice by USA as to Pirouz Sedaghaty of the First In Camera, Ex Parte,
                   Under Seal Filing by the United States Pursuant to the Classified Information
                   Procedures Act (Gorder, Charles) (Entered: 09/05/2008)
09/05/2008   128   Notice by USA as to Pirouz Sedaghaty Notification to Defendant of the
                   Second In Camera, Ex Parte, Under Seal Filing by the United States Pursuant
                   to the Classified Information Procedures Act (Atkinson, David) (Entered:
                   09/05/2008)
09/05/2008   129   Notice by USA as to Pirouz Sedaghaty of the Third In Camera, Ex Parte,
                   Under Seal Filing by the United States Pursuant to the Classified Information
                   Procedures Act (Gorder, Charles) (Entered: 09/05/2008)
09/08/2008   130   Record of Order as to Pirouz Sedaghaty ; Telephone Conference regarding
                   trial setting is set for 9/9/2008 at 11:15AM before U.S. District Judge Michael
                   R. Hogan. Counsel directed to call the BRIDGE LINE NUMBER (541) 431-
                   4045, dial 1111# then follow the directions. by Judge Michael R. Hogan (lf)
                   (Entered: 09/08/2008)
09/09/2008   131   Motion To Establish Filing Procedure by Pirouz Sedaghaty. (Attachments: # 1
                   Exhibit 1) (Wax, Steven) (Entered: 09/09/2008)
09/09/2008   132   Minutes of Proceedings: - Telephone Status Conference held before Judge
                   Michael R. Hogan as to Pirouz Sedaghaty. Defense counsel orally waives
                   appearance of defendant. Further Status Conference is set for 11/12/2008 at
                   11:30AM in Eugene before U.S. District Judge Michael R. Hogan. Ordered -
                   Excludable Delay, due to complexity of case to 2/18/09, pursuant to Speedy
                   Trial Act. Jury Trial is reset from 10/8/08 to 2/18/2009 at 09:00AM in Eugene
                   before U.S. District Judge Michael R. Hogan. Counsel Present for Plaintiff:
                   Chris Cardani and Charles Gorder.Counsel Present for Defendant: Steven
                   Wax and Larry Matasar.(Court Reporter Deborah Wilhelm)(Interpreter for
                   Defendant Present: None) (lf) (Entered: 09/10/2008)
09/10/2008   133   Record of Order - Granting defendant's Motion 131 to Establish Filing
                   Procedure as to Pirouz Sedaghaty (2) to the extent: The court having




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                   reconsidered the circumstances regarding defense counsel's request contained
                   within defendant's motion #131 to establish a filing procedure, clarifies what
                   procedure defense counsel may utilize for purposes of classification review.
                   Given that the document in question has been partially or fully prepared,
                   defense counsel may create and transmit the document for review to the Court
                   Security Officer in a manner that she prescribes which need not include
                   creation on secure equipment. In addition, counsel shall submit the document
                   to the court for in camera review where the document can be maintained in the
                   court's safe. Upon a determination from the Court Security Officer of the
                   classification of the document, the Court Security Officer shall inform counsel
                   of the degree to which the document contains classified material, if any. If the
                   document does not contain classified material, defense counsel shall file the
                   full document electronically. To the extent the document does contain
                   classified information, defense counsel shall file a version of the document
                   suitable for public viewing as directed by the Court Security Officer by
                   redacting those portions of the document that are classified and noting, in the
                   caption, "redacted version for public viewing cleared by the Court Security
                   Officer." by Judge Michael R. Hogan (lf) (Entered: 09/10/2008)
09/17/2008   134   Notice as to Pirouz Sedaghaty (Wax, Steven) (Entered: 09/17/2008)
10/10/2008   135   Motion Renewed Motion for Modification of Court Order of May 16, 2008,
                   and Motion for Access to Classified Material by Pirouz Sedaghaty. (Wax,
                   Steven) (Entered: 10/10/2008)
10/10/2008   136   Memorandum in Support of Motion by Pirouz Sedaghaty regarding Motion
                   Renewed Motion for Modification of Court Order of May 16, 2008, and
                   Motion for Access to Classified Material 135 filed by Defendant Pirouz
                   Sedaghaty (Wax, Steven) (Entered: 10/10/2008)
10/10/2008   137   Motion Regarding Defense Access to Classified Material by Pirouz
                   Sedaghaty. (Wax, Steven) (Entered: 10/10/2008)
10/10/2008   138   Memorandum in Support of Motion by Pirouz Sedaghaty regarding Motion
                   Regarding Defense Access to Classified Material 137 filed by Defendant
                   Pirouz Sedaghaty (Attachments: # 1 Exhibit A# 2 Exhibit B# 3 Exhibit C# 4
                   Exhibit D# 5 Exhibit E# 6 Exhibit F# 7 Exhibit G# 8 Exhibit H# 9 Exhibit I#
                   10 Exhibit J) (Wax, Steven) (Entered: 10/10/2008)
10/23/2008   139   Scheduling Order as to Pirouz Sedaghaty; Defendant's First Motion 53 for
                   Discovery, Government's Motion 101 for Discovery (Reciprocal Discovery),
                   defendant's Motion 137 Regarding Defense Access to Classified Material,
                   defendant's Supplemental Motion 90 for Discovery, defendant's Renewed
                   Motion 135 for Modification of Court Order of May 16, 2008 and Motion for
                   Access to Classified Material - Oral Argument is set for 11/12/2008 at
                   11:30AM in Eugene before U.S. District Judge Michael R. Hogan. by Judge
                   Michael R. Hogan (lf) (Entered: 10/23/2008)
10/29/2008   140   Notice as to Pirouz Sedaghaty regarding Notice (Generic) 134 filed by
                   Defendant Pirouz Sedaghaty (Attachments: # 1 Attachment Declaration of
                   Col. W. Patrick Lang) (Wax, Steven) (Entered: 10/29/2008)
11/06/2008   141   Notice as to Pirouz Sedaghaty of Discovery Matters in Dispute (Wax, Steven)




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                   (Entered: 11/06/2008)
11/07/2008   142   Exhibit by Pirouz Sedaghaty regarding Notice (Generic) 141 filed by
                   Defendant Pirouz Sedaghaty (Wax, Steven) (Entered: 11/07/2008)
11/12/2008   143   Minutes of Proceedings: - Status Conference and Oral Argument on pending
                   motions before Judge Michael R. Hogan as to Pirouz Sedaghaty held on
                   11/12/2008. Motion 137 Regarding Defense Access to Classified Material
                   filed by Defendant Pirouz Sedaghaty, Renewed Motion 135 for Modification
                   of Court Order of May 16, 2008, and Motion for Access to Classified Material
                   filed by Defendant Pirouz Sedaghaty, First Motion 53 for Discovery filed by
                   Defendant Pirouz Sedaghaty, Motion 101 for Discovery (Reciprocal
                   Discovery) filed by Plaintiff USA, Supplemental Motion 90 for Discovery
                   filed by Defendant Pirouz Sedaghaty - MOTIONS TAKEN UNDER
                   ADVISEMENT as of 11/12/2008. Government to file its brief regarding
                   defendant's submission of ex parte brief. Counsel Present for Plaintiff: Charles
                   Gorder, Christopher Cardani.Counsel Present for Defendant: Lawrence
                   Matasar, Steven Wax (also defendant present).(Court Reporter Deborah
                   Wilhelm)(Interpreter for Defendant Present: None) (lf) (Entered: 11/13/2008)
11/25/2008   144   Notice by USA as to Pirouz Sedaghaty regarding Motion Hearing,,,, 143 ,
                   Motion Regarding Defense Access to Classified Material 137 filed by
                   Defendant Pirouz Sedaghaty, Notice (Generic) 129 filed by Plaintiff USA,
                   Notice (Generic) 127 filed by Plaintiff USA, Notice (Generic) 128 filed by
                   Plaintiff USA of Nonopposition to Defendant's Ex Parte Filing of Theory of
                   Defense (Gorder, Charles) (Entered: 11/25/2008)
11/26/2008   145   Record of Order as to Pirouz Sedaghaty; Defense counsel allowed to file an
                   ex-parte submission of defendant's theory of defense for the purpose of the
                   Court's analysis of the government's submissions and to contact the court
                   security specialist for the procedures for preparation and filing of the
                   submission. by Judge Michael R. Hogan (lf) (Entered: 11/26/2008)
12/10/2008   146   Motion (in letter form) to Modify Conditions of Release by Pirouz Sedaghaty.
                   (sln) (Entered: 12/11/2008)
12/12/2008   147   Memorandum in Opposition to Motion by USA as to Pirouz Sedaghaty
                   Request to Modify Conditions of Pretrial Release (Cardani, Christopher)
                   (Entered: 12/12/2008)
12/23/2008   148   ORDER Denying 146 Motion to Modify Conditions of Release as to Pirouz
                   Sedaghaty (2) by U.S. District Judge Michael R. Hogan (sln) (Entered:
                   12/24/2008)
01/06/2009   149   Minutes of Proceedings: - In Chambers Scheduling Conference held before
                   U.S. District Judge Michael R. Hogan as to Pirouz Sedaghaty. Defendant's
                   appearance waived. Counsel Present for Plaintiff: Chris Cardani.Counsel
                   Present for Defendant: Steve Wax.(Court Reporter Deborah Wilhelm)
                   (Interpreter for Defendant Present: None) (lf) (Entered: 01/07/2009)
01/28/2009   150   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   1/6/09 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 01/29/2009)




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02/03/2009   151   Scheduling Order as to Pirouz Sedaghaty ; Continuing 2/18/09 Jury Trial to
                   4/29/2009 at 09:00AM in Eugene before U.S. District Judge Michael R.
                   Hogan. Ordered - defense counsel to submit proposed order for Excludable
                   Delay forthwith. by U.S. District Judge Michael R. Hogan (lf) (Entered:
                   02/03/2009)
02/03/2009   152   Proposed Form of Order Submitted for Defendant Pirouz Sedaghaty (Wax,
                   Steven) (Entered: 02/03/2009)
02/04/2009   153   Scheduling Order as to Pirouz Sedaghaty; Status Conference is set for
                   3/24/2009 at 11:30AM in Eugene before U.S. District Judge Michael R.
                   Hogan. by U.S. District Judge Michael R. Hogan (lf) (Entered: 02/04/2009)
02/09/2009   154   Notice as to Pirouz Sedaghaty (Wax, Steven) (Entered: 02/09/2009)
02/09/2009   155   Order as to Pirouz Sedaghaty granting continuance of trial date - trial is
                   rescheduled to 4/29/09 at 9am; Order time excluded from 2/9/09 to 5/15/09.
                   by U.S. District Judge Michael R. Hogan signed on 2/6/09. (sln) (Entered:
                   02/09/2009)
02/10/2009   156   Scheduling Order as to Pirouz Sedaghaty; Continuing Status Conference
                   regarding scheduling from 3/24/09 to 4/7/2009 at 11:30AM in Eugene before
                   U.S. District Judge Michael R. Hogan. by U.S. District Judge Michael R.
                   Hogan (lf) (Entered: 02/10/2009)
02/11/2009   157   Scheduling Order as to Pirouz Sedaghaty; Continuing Status Conference from
                   4/7/09 at defense counsel's request to 4/14/2009 at 11:30AM in Eugene before
                   U.S. District Judge Michael R. Hogan. by U.S. District Judge Michael R.
                   Hogan (lf) (Entered: 02/11/2009)
03/19/2009   158   Notice by USA as to Pirouz Sedaghaty of In Camera, Ex Parte, Under Seal
                   Filing (Gorder, Charles) (Entered: 03/19/2009)
03/20/2009   159   ORDER First Motion 53 for Discovery as to Pirouz Sedaghaty and
                   Supplement to First Motion 90 for Discovery as to Pirouz Sedaghaty are
                   denied, insofar as they relate to the Terrorist Surveillance Program of the
                   NSA. by U.S. District Judge Michael R. Hogan signed on 3/18/09. (sln)
                   (Classified Order maintain by Court Security Officer) (Entered: 03/20/2009)
03/20/2009   160   Protective Order pursuant to Section 4 of the Classified Information
                   Procedures Act and Federal Rule of Criminal Procedure 16(d)(1) as to Pirouz
                   Sedaghaty by U.S. District Judge Michael R. Hogan signed on 3/18/09. (sln)
                   (Classified Order maintained by Court Security Officer) (Entered: 03/20/2009)
03/20/2009   161   Second Protective Order pursuant to Section 4 of the Classified Information
                   Procedures Act and Federal Rule of Criminal Procedure 16(d)(1) as to Pirouz
                   Sedaghaty by U.S. District Judge Michael R. Hogan signed on 3/18/09. (sln)
                   (Classified Order maintained by the Court Security Officer) (Entered:
                   03/20/2009)
04/14/2009   162   Minutes of Proceedings: - Status Conference held in-chambers before U.S.
                   District Judge Michael R. Hogan as to Pirouz Sedaghaty; Order - Continuing
                   4/29/09 Jury Trial to 11/30/09. Order - Defense counsel to file a Motion for
                   Excludable Delay forthwith. Defense to file pleading to clarify regarding




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                   classified material by 4/17/09, within 60 days after ruling, defendant to file
                   Motion regarding search. Motions to Suppress due 6/12/09. Oral Argument on
                   yet to be filed Motions to Suppress is set for 7/13/2009 at 10:00AM in Eugene
                   before U.S. District Judge Michael R. Hogan. Exhibit Lists and Witness Lists
                   due 8/10/09. Trial Motions due 9/1/09. Oral Argument on Trial Motions is set
                   for 10/13/2009 at 11:00AM in Eugene before U.S. District Judge Michael R.
                   Hogan. Proposed jury instructions, proposed voir dire, Motions In-Limine and
                   other trial motions due 10/30/09. Pretrial Conference and Oral Argument on
                   later filed motions is set for 11/16/2009 at 10:00AM in Eugene before U.S.
                   District Judge Michael R. Hogan. 10 Day Jury Trial is reset for 11/30/2009 at
                   09:00AM in Eugene before U.S. District Judge Michael R. Hogan. (Monday
                   11/30/09 and Tuesday 12/1/09 - Jury Selection and Opening Statements;
                   Friday 12/4/09 Evidence Presentation begins) Counsel Present for Plaintiff:
                   Chris Cardani, Charles Gorder.Counsel Present for Defendant: Steven Wax,
                   Lawrence Matasar (defendant present).(Court Reporter Deborah Wilhelm)
                   (Interpreter for Defendant Present: None) (lf) (Entered: 04/17/2009)
04/17/2009   163   Proposed Form of Order Submitted for Defendant Pirouz Sedaghaty (Wax,
                   Steven) (Entered: 04/17/2009)
04/17/2009   164   Motion For Clarification Regarding Classified Material and Supporting
                   Memorandum by Defendant Pirouz Sedaghaty. (Wax, Steven) (Entered:
                   04/17/2009)
04/20/2009   165   Notice as to Pirouz Sedaghaty regarding Motion For Clarification Regarding
                   Classified Material and Supporting Memorandum 164 filed by Defendant
                   Pirouz Sedaghaty (Attachments: # 1 Attachment Order in Related Case) (Wax,
                   Steven) (Entered: 04/20/2009)
04/20/2009   166   Ex Parte Motion for Subpoenas and Witness Fees at Government's Expense by
                   Defendant Pirouz Sedaghaty. (Attachments: # 1 Attachment Proposed Order)
                   (Wax, Steven) (Entered: 04/20/2009)
04/20/2009   167   ORDER as to Pirouz Sedaghaty: Granting the Parties' Joint Motion to Reset
                   Trial Date. Trial reset to 11/30/09 at 9:00AM in Eugene before Judge Michael
                   R. Hogan. Ordered time excluded from the date of this order to 12/15/09 based
                   on the complexity of the case and pendency of pretrial motions. by U.S.
                   District Judge Michael R. Hogan signed on 4/20/09. (lae) (Entered:
                   04/21/2009)
04/22/2009   169   ORDER Granting 166 Motion for Subpoenas and Witness Fees at
                   Government Expense as to Pirouz Sedaghaty (2) by U.S. District Judge
                   Michael R. Hogan signed on 4/22/09. (sln) (Entered: 04/23/2009)
04/23/2009   168   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                   Order 164 filed by Defendant Pirouz Sedaghaty for Clarification Regarding
                   Classified Information (Gorder, Charles) (Entered: 04/23/2009)
04/24/2009   170   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                   Order 137 filed by Defendant Pirouz Sedaghaty, Motion for Order 135 filed
                   by Defendant Pirouz Sedaghaty, Motion for Discovery 53 filed by Defendant
                   Pirouz Sedaghaty, Motion for Discovery 101 filed by Plaintiff USA, Motion
                   for Discovery 90 filed by Defendant Pirouz Sedaghaty (Attachments: # 1




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                   Attachment 1) (Cardani, Christopher) (Entered: 04/24/2009)
04/29/2009   171   Motion for Production and Satisfaction of Prosecutor's Duty of Inquiry and
                   Henthorn Review and Supporting Memorandum by Defendant Pirouz
                   Sedaghaty. (Wax, Steven) (Entered: 04/29/2009)
05/07/2009   172   Reply to Response to Motion by Pirouz Sedaghaty as to Al-Haramain Islamic
                   Foundation, Inc, Pirouz Sedaghaty, Soliman Hamd Al-Buthe regarding
                   Motion Regarding Defense Access to Classified Material 137 , Motion
                   Renewed Motion for Modification of Court Order of May 16, 2008, and
                   Motion for Access to Classified Material 135 , First Motion for Discovery 53 ,
                   Motion for Discovery (Reciprocal Discovery) 101 , Supplemental Motion for
                   Discovery 90 (Wax, Steven) (Entered: 05/07/2009)
05/07/2009   173   Reply to Response to Motion by Pirouz Sedaghaty regarding Motion For
                   Clarification Regarding Classified Material and Supporting Memorandum 164
                   (Wax, Steven) (Entered: 05/07/2009)
05/07/2009   174   Second Request for Discovery by Pirouz Sedaghaty of Classified Information
                   (Wax, Steven) (Entered: 05/07/2009)
05/15/2009   175   Motion for Extension of Time to May 21, 2009 (Related Doc. 135 Motion for
                   Order ) to File Response to Defendant's Motion for Modification of Court
                   Order of May 16, 2008, filed by USA as to Defendant Pirouz Sedaghaty.
                   (Gorder, Charles) (Entered: 05/15/2009)
05/18/2009   176   Record of Order - Granting government's Motion 175 for Extension of Time
                   to 5/21/09 to File Response to defendant's Motion for Modification of 5/16/08
                   Court Order as to Pirouz Sedaghaty (2) by U.S. District Judge Michael R.
                   Hogan (lf) (Entered: 05/18/2009)
05/21/2009   177   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                   Order 135 filed by Defendant Pirouz Sedaghaty for Modification of Court
                   Order of May 16, 2008 (Gorder, Charles) (Entered: 05/21/2009)
06/11/2009   178   Motion for Extension of Time For Filing Motion To Suppress (Related Doc.
                   162 Scheduling Conference) by Defendant Pirouz Sedaghaty. (Wax, Steven)
                   (Entered: 06/11/2009)
06/12/2009   179   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                   Order 171 filed by Defendant Pirouz Sedaghaty, Motion for Discovery 53
                   filed by Defendant Pirouz Sedaghaty, Motion for Discovery 101 filed by
                   Plaintiff USA, Motion for Discovery 90 filed by Defendant Pirouz Sedaghaty
                   (Cardani, Christopher) (Entered: 06/12/2009)
06/15/2009   180   ORDER Granting 178 Motion for Extension of Time as to Pirouz Sedaghaty
                   (2). Defendant allowed until 6/19/09 to file motion to suppress. by U.S.
                   District Judge Michael R. Hogan (sln) (Entered: 06/15/2009)
06/19/2009   181   Motion to Suppress Evidence Seized Pursuant To Search Warrant by
                   Defendant Pirouz Sedaghaty. (Wax, Steven) (Entered: 06/19/2009)
06/19/2009   182   Motion to Compel Government To Cease All Searches Of Computers And
                   Electronic Media Seized On February 18, 2004 by Defendant Pirouz




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                   Sedaghaty. (Wax, Steven) (Entered: 06/19/2009)
06/19/2009   183   Memorandum in Support of Motion by Pirouz Sedaghaty regarding Motion to
                   Compel Government To Cease All Searches Of Computers And Electronic
                   Media Seized On February 18, 2004 182 filed by Defendant Pirouz
                   Sedaghaty, Motion to Suppress Evidence Seized Pursuant To Search Warrant
                   181 filed by Defendant Pirouz Sedaghaty (Attachments: # 1 Exhibit 1, # 2
                   Exhibit 2, part 1, # 3 Exhibit 2, part 2, # 4 Exhibit 2, part 3, # 5 Exhibit 3-7, #
                   6 Exhibit 8) (Wax, Steven) (Entered: 06/19/2009)
06/29/2009   184   Scheduling Order as to Pirouz Sedaghaty; : Defendant's Motion 181 to
                   Suppress Evidence Seized Pursuant To Search Warrant and defendant's
                   Motion 182 to Compel Government To Cease All Searches Of Computers And
                   Electronic Media Seized On February 18, 2004 Oral Argument is set for
                   7/13/2009 at 10:00AM in Eugene before U.S. District Judge Michael R.
                   Hogan. by U.S. District Judge Michael R. Hogan (lf) (Entered: 06/29/2009)
06/30/2009   185   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   4/18/05 before Judge Thomas M. Coffin. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/01/2009)
06/30/2009   186   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   8/5/05 before Judge Thomas M. Coffin. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/01/2009)
06/30/2009   187   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   7/15/08 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/01/2009)
06/30/2009   188   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   11/12/08 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/01/2009)
06/30/2009   189   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   9/9/08 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/01/2009)
06/30/2009   190   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   4/14/09 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/01/2009)
07/01/2009   191   ORDER: Defendant's motions for discovery 53 and 90 are granted in part and
                   denied in part, the government's motion for reciprocal discovery 101 is
                   granted, defendant's renewed motion for modification of the court's 5/16/08
                   order 135 is denied, defendant's motion regarding defense access to classified
                   discovery 137 is denied, defendant's motion for clarification regarding
                   classified material 164 is denied, defendant's motion for production and
                   satisfaction of prosecutor's duty of inquiry and Henthorn review 171 is
                   granted, and defendant's renewed motion for discovery of classified
                   information 174 is denied. by U.S. District Judge Michael R. Hogan signed on
                   7/1/09. (lae) (Entered: 07/02/2009)
07/06/2009   192   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion to




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                   Compel 182 filed by Defendant Pirouz Sedaghaty, Motion to Suppress 181
                   filed by Defendant Pirouz Sedaghaty (Attachments: # 1 Exhibit 1) (Cardani,
                   Christopher) (Entered: 07/06/2009)
07/07/2009   193   Scheduling Order as to Pirouz Sedaghaty ; ADVANCING Time Set for
                   Defendant's Motion 181 to Suppress Evidence Seized Pursuant To Search
                   Warrant and defendant's Motion 182 to Compel Government To Cease All
                   Searches Of Computers And Electronic Media Seized On February 18, 2004 -
                   Oral Argument on 7/13/2009 from 10am to 09:30AM in Eugene before U.S.
                   District Judge Michael R. Hogan. by U.S. District Judge Michael R. Hogan
                   (lf) (Entered: 07/07/2009)
07/09/2009   194   Motion for Protective Order by Defendant Pirouz Sedaghaty. (Wax, Steven)
                   (Entered: 07/09/2009)
07/09/2009   195   Notice as to Pirouz Sedaghaty - CIPA Notice (Wax, Steven) (Entered:
                   07/09/2009)
07/10/2009   196   Reply to Response to Motion by Pirouz Sedaghaty regarding Motion to
                   Suppress Evidence Seized Pursuant To Search Warrant 181 (Wax, Steven)
                   (Entered: 07/10/2009)
07/13/2009   197   Minutes of Proceedings:Motion Hearing before U.S. District Judge Michael
                   R. Hogan as to Pirouz Sedaghaty held on 7/13/2009 regarding Motion to
                   Compel Government To Cease All Searches Of Computers And Electronic
                   Media Seized On February 18, 2004 182 filed by Defendant Pirouz
                   Sedaghaty, Motion to Suppress Evidence Seized Pursuant To Search Warrant
                   181 filed by Defendant Pirouz Sedaghaty. Exhibits SH-1, SH-2, and SH-2A
                   received by the court. Witnesses testifying during hearing: Colleen Anderson,
                   David Carroll. Motions 181 and 182 are taken under advisement as of
                   7/13/2009.Counsel Present for Plaintiff: Christopher Cardni, Charles
                   Gorder.Counsel Present for Defendant: Steven Wax, Lawrence Matasar.(Court
                   Reporter Deborah Wilhelm) (cw) (Entered: 07/13/2009)
07/22/2009   198   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   7/13/09 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 07/23/2009)
07/22/2009   199   Sealed Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held
                   on 7/13/09 page 48 before Judge Michael R. Hogan. Court Reporter: Deborah
                   Wilhelm. (sln) (Entered: 07/23/2009)
07/27/2009   200   Notice as to Pirouz Sedaghaty Second CIPA Notice (Matasar, Lawrence)
                   (Entered: 07/27/2009)
08/04/2009   201   Motion for Bill of Particulars filed by Pirouz Sedaghaty as to Defendant Al-
                   Haramain Islamic Foundation, Inc, Pirouz Sedaghaty, Soliman Hamd Al-
                   Buthe. (Wax, Steven) (Entered: 08/04/2009)
08/07/2009   202   Motion to Continue / Reset and Statement Regarding Witnesses and Exhibits
                   filed by Pirouz Sedaghaty as to Defendant Al-Haramain Islamic Foundation,
                   Inc, Pirouz Sedaghaty, Soliman Hamd Al-Buthe. (Wax, Steven) (Entered:
                   08/07/2009)




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08/10/2009   203   Witness List by USA as to Pirouz Sedaghaty (Cardani, Christopher) (Entered:
                   08/10/2009)
08/10/2009   204   Exhibit List by USA as to Pirouz Sedaghaty (Cardani, Christopher) (Entered:
                   08/10/2009)
08/11/2009   205   Motion Post-Hearing Additional Specification Of Basis For Suppression
                   Based On Dissemination Of Information To Russian FSB And Request For
                   Discovery Evidentiary Hearing Requested requested. filed by Pirouz
                   Sedaghaty as to Defendant Al-Haramain Islamic Foundation, Inc, Pirouz
                   Sedaghaty, Soliman Hamd Al-Buthe. (Wax, Steven) (Entered: 08/11/2009)
08/11/2009   217   Minutes of Proceedings: In Camera, ex parte under seal hearing held on
                   8/11/09 before U.S. District Judge Michael R. Hogan with the United States
                   pursuant to Section 4 of the Classified Information Procedures act, 18 U.S.C.
                   App. III ("CIPA").(Court Reporter Deborah Wilhelm) (sln) (Entered:
                   09/10/2009)
08/12/2009   206   Response to 194 , 195 , 200 filed by USA as to Pirouz Sedaghaty
                   (Attachments: # 1 Attachment) (Gorder, Charles) (Entered: 08/12/2009)
08/14/2009   207   Record of Order as to Pirouz Sedaghaty ; Government's response to
                   defendant's Motion 202 to Continue Witness/Exhibit lists and Trial Date is
                   due by 8/21/2009. by U.S. District Judge Michael R. Hogan (lf) (Entered:
                   08/14/2009)
08/21/2009   208   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion to
                   Continue / Reset 202 filed by Defendant Pirouz Sedaghaty Oral Agrument
                   requested. (Attachments: # 1 Attachment 1) (Cardani, Christopher) (Entered:
                   08/21/2009)
08/21/2009   209   Amended Response to Motion by USA as to Pirouz Sedaghaty regarding
                   Motion to Continue / Reset 202 filed by Defendant Pirouz Sedaghaty Refiling
                   as pages 2-7 of 208 document did not completely transfer -- Oral Argument
                   requested. (Attachments: # 1 Attachment 1) (Cardani, Christopher) (Entered:
                   08/21/2009)
08/25/2009   210   Scheduling Order as to Pirouz Sedaghaty; Defendants' Motion 202 to
                   Continue Trial and Statement Regarding Witnesses and Exhibits - Oral
                   Argument is set for 9/1/2009 at 11:15AM in Eugene before U.S. District
                   Judge Michael R. Hogan. by U.S. District Judge Michael R. Hogan (lf)
                   (Entered: 08/25/2009)
08/26/2009   211   Supplemental Motion to Continue / Reset Oral Argument requested. by
                   Defendant Pirouz Sedaghaty. (Matasar, Lawrence) (Entered: 08/26/2009)
08/27/2009   212   Scheduling Order as to Pirouz Sedaghaty ; CONTINUING 9/1/09 Oral
                   Argument on defendant's Motion 202 to Continue Trial - Oral Argument is
                   reset for 9/15/2009 at 10:45AM in Eugene before U.S. District Judge Michael
                   R. Hogan. by U.S. District Judge Michael R. Hogan (lf) (Entered: 08/27/2009)
08/27/2009   213   Supplemental Memorandum in Support of Motion by Pirouz Sedaghaty
                   regarding First Motion for Discovery 53 filed by Defendant Pirouz Sedaghaty,
                   Motion Post-Hearing Additional Specification Of Basis For Suppression




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                   Based On Dissemination Of Information To Russian FSB And Request For
                   Discovery 205 filed by Defendant Pirouz Sedaghaty, Motion to Suppress
                   Evidence Seized Pursuant To Search Warrant 181 filed by Defendant Pirouz
                   Sedaghaty, Supplemental Motion to Continue / Reset 211 filed by Defendant
                   Pirouz Sedaghaty (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Wax, Steven)
                   (Entered: 08/27/2009)
09/01/2009   214   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for Bill
                   of Particulars 201 filed by Defendant Pirouz Sedaghaty (Cardani, Christopher)
                   (Entered: 09/01/2009)
09/10/2009   216   Scheduling Order as to Pirouz Sedaghaty; The court has reviewed the
                   government's in camera submission dated September 3, 2009. The court
                   clarifies that with respect to discovery requests regarding whether defendant
                   or any other Al-Haramain employee was subjected to surveillance, only
                   exculpatory non-classified information need be provided to the extent any
                   exists. After review of the materials provided, the court finds that none of the
                   items referred to in the sealed letter of September 3, 2009, need be provided to
                   the defense. by U.S. District Judge Michael R. Hogan (lf) (Entered:
                   09/10/2009)
09/10/2009   218   Minutes of Proceedings:In Camera, ex parte under seal hearing held before
                   U.S. District Judge Michael R. Hogan with the United States pursuant to
                   Section 4 of the Classified Information Procedures act, 18 U.S.C. App. III
                   ("CIPA").(Court Reporter Deborah Wilhelm) (sln) (Entered: 09/10/2009)
09/10/2009   219   Notice by USA as to Pirouz Sedaghaty of Fourth In Camera, Ex Parte, Under
                   Seal Filing Pursuant to the Classified Information Procedures Act (Gorder,
                   Charles) (Entered: 09/10/2009)
09/14/2009   220   Reply to Response to Motion by Pirouz Sedaghaty regarding Motion for Bill
                   of Particulars 201 (Wax, Steven) (Entered: 09/14/2009)
09/15/2009   221   Minutes of Proceedings:In Camera, ex parte under seal hearing held before
                   U.S. District Judge Michael R. Hogan with the defendant Pirouz Sedaghaty
                   (Court Reporter Deborah Wilhelm) (sln) (Entered: 09/15/2009)
09/15/2009   222   Minutes of Proceedings: - Oral Argument before U.S. District Judge Michael
                   R. Hogan as to Pirouz Sedaghaty held on 9/15/2009 regarding defendant's
                   Motion 202 to Continue Trial Motions 10/13/09 Hearing, 11/16/09 Pretrial
                   Conference and 11/30/09 Trial Date - Motion Granted. Defendant's
                   Supplemental Motion 211 to Continue is denied as moot. Formal Order to be
                   issued. Counsel Present for Plaintiff: Chris Cardani, Charles Gorder ( Special
                   Agent Ms. Anderson also present) Counsel Present for Defendant: Steven
                   Wax, Lawrence Matasar.(Court Reporter Deborah Wilhelm)(Interpreter for
                   Defendant Present: None) (lf) (Entered: 09/16/2009)
09/17/2009   223   Motion for Clarification of Discovery Order re Order on Motion for
                   Discovery,, Order on Motion for Order 191 filed by USA as to Defendant
                   Pirouz Sedaghaty. (Cardani, Christopher) Modified on 9/17/2009
                   (typographical error corrected) (cw). (Entered: 09/17/2009)
09/17/2009   224   Objections by Pirouz Sedaghaty to the Ex Parte Review of Classified Material




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                   Submitted In Camera on September 3, 2009 (Wax, Steven) (Entered:
                   09/17/2009)
09/25/2009   225   Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                   Order, 205 filed by Defendant Pirouz Sedaghaty (Attachments: # 1 Exhibit A,
                   # 2 Exhibit B) (Gorder, Charles) (Entered: 09/25/2009)
10/06/2009   226   Transcript of Proceedings as to Pirouz Sedaghaty for the hearing held on
                   9/15/09 before Judge Michael R. Hogan. Court Reporter: Deborah Wilhelm.
                   (sln) (Entered: 10/06/2009)
10/06/2009   227   Sealed Transcript of Ex Parte, In Camera Proceedings as to Pirouz Sedaghaty
                   for the hearing held on 9/15/09 before Judge Micahel R. Hogan`. Court
                   Reporter: Deborah Wilhelm. (sln) (Entered: 10/06/2009)
10/09/2009   228   Response to 213 filed by USA as to Pirouz Sedaghaty Government's Response
                   to Defendant's Supplement To Motion To Suppress (Cardani, Christopher)
                   (Entered: 10/09/2009)
10/14/2009   229   Notice by USA as to Pirouz Sedaghaty of In Camera, Ex Parte Hearing With
                   the United States Pursuant to the Classified Information Procedures Act
                   (Gorder, Charles) (Entered: 10/14/2009)
10/15/2009   230   Supplemental Memorandum in Support of Motion by Pirouz Sedaghaty
                   regarding Motion to Suppress Evidence Seized Pursuant To Search Warrant
                   181 filed by Defendant Pirouz Sedaghaty (Attachments: # 1 Exhibit A, C, D)
                   (Wax, Steven) (Entered: 10/15/2009)
10/15/2009   231   Motion To File Under Seal Exhibit B To Supplemental Memorandum In
                   Support Of Motion To Suppress re Memorandum in Support 230 by
                   Defendant Pirouz Sedaghaty. (Wax, Steven) (Entered: 10/15/2009)
10/19/2009   232   ORDER Granting 231 Motion to file under seal exhibit B to Supplemental
                   Memorandum in Support of Motion to Suppress as to Pirouz Sedaghaty (2) by
                   U.S. District Judge Michael R. Hogan (sln) (Entered: 10/19/2009)
10/19/2009   233   Exhibit B regarding Supplemental Memorandum in Support of Motion by
                   Pirouz Sedaghaty regarding Motion to Suppress Evidence Seized Pursuant To
                   Search Warrant 181 230 filed by Defendant Pirouz Sedaghaty Filed Under
                   Seal (sln) (Entered: 10/20/2009)
10/23/2009   234   Reply to Response to Motion by Pirouz Sedaghaty regarding Motion to
                   Suppress Evidence Seized Pursuant To Search Warrant 181 (Wax, Steven)
                   (Entered: 10/23/2009)
10/26/2009   235   Reply to Response to Motion by Pirouz Sedaghaty regarding Motion Post-
                   Hearing Additional Specification Of Basis For Suppression Based On
                   Dissemination Of Information To Russian FSB And Request For Discovery
                   205 (Attachments: # 1 Attachment Declaration of Colonel Walter Patrick
                   Lang) (Matasar, Lawrence) (Entered: 10/26/2009)
11/13/2009   236   Notice by USA as to Pirouz Sedaghaty of the Fifth In Camera, Ex Parte,
                   Under Seal Filing by the United States Pursuant to the Classified Information
                   Procedures Act (Gorder, Charles) (Entered: 11/13/2009)




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12/01/2009   237   Scheduling Order as to Pirouz Sedaghaty: An in-chambers Status Conference
                   is set for 12/8/2009 at 09:30AM in Eugene before U.S. District Judge Michael
                   R. Hogan. by U.S. District Judge Michael R. Hogan (cw) (Entered:
                   12/01/2009)
12/02/2009   238   Motion To Compel The Government To Utilize The Mutual Legal Assistance
                   Treaty On Behalf Of Mr. Sedaghaty And/Or To Issue Letters Rogatory by
                   Defendant Pirouz Sedaghaty. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                   Exhibit C, # 4 Proposed Order, # 5 Proposed Order) (Wax, Steven)
                   (Additional attachment(s) added on 12/7/2009: # 6 Corrected Motion with
                   signed signature page) (sln). (Additional attachment(s) added on 1/15/2010: #
                   7 Exhibits A - D) (sln). (Entered: 12/02/2009)
12/07/2009   239   Administrative Correction of the Record: A clerical error pursuant to Fed. R.
                   Crim. P 36 has been discovered in the case record referencing Defendant
                   Sedaghaty's Motion to compel 238 signatures are missing on the document
                   and the Clerk is directed to make the following administrative corrections to
                   the record and to notify all parties accordingly: The clerk is directed to attach
                   a correct version with signed signature page and restrict access to the original
                   document. by U.S. District Judge Michael R. Hogan (sln) (Entered:
                   12/07/2009)
12/08/2009   240   Minutes of Proceedings:In Chambers Status Conference before U.S. District
                   Judge Michael R. Hogan as to Pirouz Sedaghaty. Oral Argument on
                   Defendant's Motion to Compel the Government to Utilize the Mutual Legal
                   Assistance Treaty 238 and the issue of whether or not there is a need for a
                   classified portion to the hearing on the motions to suppress is set for 1/19/2010
                   at 10:30AM in Eugene before U.S. District Judge Michael R. Hogan. Parties
                   to submit letters to the Court by 1/12/10 regarding their positions on whether
                   classified testimony is necessary. Ordered hearing on Defendant's Motion to
                   Suppress Evidence Seized Pursuant to Search Warrant 181 and Defendant's
                   Post-Hearing Additional Specification of Basis for Suppression Based on
                   Dissemination of Information to Russian FSB and Request for Discovery 205
                   is set for 3/15/10 at 9:00AM in Eugene before Judge Michael R. Hogan. Any
                   Daubert issues will also be heard at the hearing scheduled for 3/15/10 at
                   9:00AM. Ordered estimated two week jury trial is set for 6/7/10 at 9:00AM in
                   Eugene before Judge Michael R. Hogan. Pretrial Conference and hearing on
                   motions in limine is set for 5/10/10 at 9:00AM in Eugene before Judge
                   Michael R. Hogan. The deadlines for submission of trial documents are set
                   forth in a minute order to follow. Counsel Present for Plaintiff: Christopher
                   Cardani, Charles Gorder.Counsel Present for Defendant: Lawrence Matasar,
                   Steven Wax. Also present for the government: Dave Carroll and Colleen
                   Anderson. (Court Reporter Deb Wilhelm) (lae) (Entered: 12/09/2009)
12/08/2009   241   Order Establishing Pretrial, Trial Document and Trial Deadlines as to Pirouz
                   Sedaghaty. by U.S. District Judge Michael R. Hogan (lae) (Entered:
                   12/09/2009)
12/11/2009   242   Memorandum in Opposition to Motion by USA as to Pirouz Sedaghaty
                   regarding Response to Motion 192 filed by Plaintiff USA, Memorandum in
                   Support 230 filed by Defendant Pirouz Sedaghaty and Defendant Pirouz
                   Sedaghaty Motion to Suppress 181 (Attachments: # 1 Attachment Declaration)




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                     (Cardani, Christopher) Modified on 12/14/2009 - created link to motion 181
                     (sln). (Entered: 12/11/2009)
12/11/2009   243     Scheduling Order as to Pirouz Sedaghaty : At the request of the parties,
                     ordered Daubert Evidentiary Hearing is reset from 3/15/10 to 5/10/2010 at
                     09:00AM in Eugene before U.S. District Judge Michael R. Hogan. by U.S.
                     District Judge Michael R. Hogan (lae) (Entered: 12/11/2009)
12/18/2009   244     Response to Motion by USA as to Pirouz Sedaghaty regarding Motion for
                     Order, 238 filed by Defendant Pirouz Sedaghaty (Attachments: # 1 Exhibit 1)
                     (Gorder, Charles) (Entered: 12/18/2009)
01/08/2010   245     Reply to Response to Motion by Pirouz Sedaghaty regarding Motion To
                     Compel The Government To Utilize The Mutual Legal Assistance Treaty On
                     Behalf Of Mr. Sedaghaty And/Or To Issue Letters Rogatory 238 (Wax,
                     Steven) (Entered: 01/08/2010)
01/13/2010   246     Response filed by USA as to Pirouz Sedaghaty Regarding Need for Classified
                     Hearing (Attachments: # 1 Government's Letter to the Court) (Gorder,
                     Charles) (Entered: 01/13/2010)
01/15/2010   247     Motion to Compel The Government To Utilize The Mutual Legal Assistance
                     Treaty On Behalf Of Mr. Sedaghaty And/Or To Issue Letters Rogatory by
                     Defendant Pirouz Sedaghaty. (Attachments: # 1 Exhibit A - C, # 2 Exhibit D
                     (color), # 3 Exhibit E - F) (Wax, Steven) (Entered: 01/15/2010)
01/15/2010   248     Proposed Form of Order Submitted for Defendant Pirouz Sedaghaty (Wax,
                     Steven) (Entered: 01/15/2010)



                                    PACER Service Center
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                                           01/18/2010 10:43:00
                   PACER                                          311025-
                                  ll0016        Client Code:
                   Login:                                         000002/05922
                                  Docket        Search
                   Description:                                   6:05-cr-60008-HO
                                  Report        Criteria:
                   Billable Pages: 20           Cost:             1.60




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT D TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) TIMOTHY J. COLEMAN
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
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           UNITED STATES ATTORNErS OFFICE
           Disbict of Oregon

           PRESS ROOM


           08/04/05


            GOVERNMENT FILES MOTION TO DISMISS CASE AGAINST AL-
                 HARAMAIN ISLAMIC FOUNDATION,INC. BECAUSE
            INTERNATIONAL FUGITIVES HAVE NOT BEEN APPREHENDED



           Karin J. Immergut, United States Attorney for the District of Oregon,
           announces that the government has filed a motion to dismiss charges
           currently pending against the AI-Haramain Islamic Foundation, Inc.,
           because two individual defendants who operated the charity have not
           been apprehended and the government does not want to proceed to
           trial piecemeal. If the motion is granted, the government would have
           the ability to re-indict the AI-Haramain Islamic Foundation if either of
           the two fugitives are apprehended.

           In February 2005, a federal grand jury in Eugene, Oregon returned an
           indictment against the AI-Haramain Islamic Foundation, Inc., as well as
           two of the individuals who ran the charity in the United States from
           1999-2003. Despite pending arrest warrants, those individual
           defendants, Perouz Sedaghaty and Soliman AI-But'he, have not been
           apprehended.

           As alleged in the indictment, Perouz Sedaghaty and Soliman AI-But'he
           were two of the primary operators of the United States branch of the
           AI-Haramain Islamic Foundation, which was headquartered in Saudi
           Arabia. Sedaghaty departed the United States for Saudi Arabia during
           the criminal investigation in February 2003, has not returned to the
           United States, and is currently a fugitive living overseas. According to
           public records, Sedaghaty is the only remaining officer of the U.S.
           branch of the AI-Haramain Islamic Foundation.

           Soliman AI-But'he is a citizen of Saudi Arabia. According to court
           filings, he has not been in the United States since 2001, and is
           currently believed to be a fugitive in Saudi Arabia. According to court
           documents, the actions of Sedaghaty and AI-But'he gave rise to the
           charges against the AI-Haramain Islamic Foundation, Inc.

           Since Sedaghaty left the United States in February 2003, AI-Haramain
           has had no active operations in the United States and its properties are
           in the process of being sold by the U.S. Government. In June 2004, the
           Kingdom of Saudi Arabia dissolved the AI-Haramain Islamic
           Foundation.

           In moving to dismiss the charges against the U.S. branch of AI-
           Haramain, the government stated that it would be an inefficient waste
           of resources to proceed against the shell corporation in this case until
           one of the individual defendants is apprehended, and that the criminal



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            investigation against AI-Haramain, Sedaghaty and AI-But'he is
            continuing. All known assets of the AI-Haramain Islamic Foundation in
            the United States have been frozen. A hearing on the motion is
            currently scheduled for August 8. 2005 in Eugene.

            For more information, contact Supervisory Assistant United States
            Attorne Kent Robinson at 503-727-1000.




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